         Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 1 of 155



1    Steven S. Baik (SBN 184622)
     sbaik@sidley.com
2    Ryuk Park (SBN 298744)
     ryuk.park@sidley.com
3    SIDLEY AUSTIN LLP
     1001 Page Mill Road
4    Building 1
     Palo Alto, CA 94304
5    Telephone: +1 650 565 7074
     Facsimile: +1 650 565 7100
6
     Rollin A. Ransom (SBN 196126)
7    rransom@sidley.com
     SIDLEY AUSTIN LLP
8    555 West Fifth Street
     Los Angeles, CA 90013
9    Telephone: +1 213 896 6047
     Facsimile: +1 213 896 6600
10
     Attorneys for Plaintiffs PUBG Corporation and
11   PUBG Santa Monica, Inc.

12
                                   UNITED STATES DISTRICT COURT
13
                                 NORTHERN DISTRICT OF CALIFORNIA
14

15
     PUBG Corporation and                            Case No.
16   PUBG Santa Monica, Inc.,
17                 Plaintiffs,
                                                     PLAINTIFFS’ COMPLAINT FOR:
18          vs.
                                                     1) COPYRIGHT INFRINGEMENT UNDER
19   NetEase, Inc. and                               17 U.S.C. § 101 et seq.;
     NetEase Information Technology Corporation,
20                                                   2) TRADE DRESS INFRINGEMENT
                   Defendants.                       UNDER 15 U.S.C. § 1125(a);
21
                                                     3) UNFAIR COMPETITION UNDER CAL.
22                                                   BUS. & PROF. CODE § 17200 et seq. AND
                                                     CAL. COMMON LAW
23
                                                     4) UNFAIR COMPETITION UNDER CAL.
24                                                   COMMON LAW
25                                                   DEMAND FOR JURY TRIAL
26

27

28

           PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                        INFRINGEMENT AND UNFAIR COMPETITION
          Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 2 of 155



1           Plaintiffs PUBG Corporation and PUBG Santa Monica, Inc. (collectively, “PUBG”), by and

2    through their attorneys, for their complaint against Defendants NetEase, Inc. and NetEase

3    Technology Corporation (collectively, “Defendants”) state as follows:

4                                             INTRODUCTION

5           1.      This is an action for copyright infringement under the United States Copyright Act of

6    1976, 17 U.S.C. § 101 et seq. (“Copyright Act”); trade dress infringement under the United States

7    Trademark Act of 1946, 15 U.S.C. 1051 et seq. (“Lanham Trademark Act”); and unfair business

8    competition under California State Law, Cal. Bus. & Prof. Code § 17200 et seq. (“California Unfair

9    Competition Law”) and California common law.

10                                                 PARTIES

11          2.      Plaintiff PUBG Corporation (“PUBG”) is a corporation organized and existing under

12   the laws of the Republic of Korea, having its principal place of business located at 7F, 8F, 12,

13   Seocho-daero 38-gil, Seocho-gu, Seoul, Republic of Korea.

14          3.      Plaintiff PUBG Santa Monica, Inc. (“PUBG America”) is a corporation organized

15   and existing under the laws of the State of Delaware, having its principal place of business located at

16   1223 Wilshire Blvd. Num. 1015, Santa Monica, CA 90403. Plaintiff PUBG America is a wholly-

17   owned subsidiary of Plaintiff PUBG.

18          4.      Upon information and belief, Defendant NetEase, Inc. (“NetEase”) is a corporation

19   organized and existing under the laws of the Cayman Islands, having its principal place of business

20   located at Building No. 7, West Zone, Zhongguancun Software Park (Phase II), No.10 Xibeiwang

21   East Road, Haidian District, Beijing 100193, People’s Republic of China. Upon information and

22   belief, NetEase is registered to do business in the State of Delaware under its former English name,

23   NetEase.com (U.S.) Inc., and has a registered agent for service of process at The Corporation Trust

24   Company, Corporation Trust Center, 1209 Orange Street, Wilmington, Delaware 19801. Upon

25   information and belief, shares of NetEase have been listed on the NASDAQ Global Select Market

26   since June 30, 2000, under the symbol “NTES,” and NetEase regularly files reports with the United

27   States Securities and Exchange Commission. Upon information and belief, Defendant NetEase

28   maintains an Investor Relations contact in New York, New York, in the United States.
                                                     1
            PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                             INFRINGEMENT AND UNFAIR COMPETITION
          Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 3 of 155



 1          5.      Upon information and belief, Defendant NetEase Information Technology Corp.

 2   (“NetEase IT”) is a corporation organized and existing under the laws of California, having its

 3   principal place of business located at 2000 Sierra Point Parkway, Suite 800, Brisbane, California

 4   94005. Upon information and belief, Defendant NetEase Information Technology Corp. is a

 5   subsidiary of Defendant NetEase. Upon information and belief, Defendant NetEase Information

 6   Technology, Corp. operates under the name NetEase North America and/or the name NetEase

 7   Games. Upon information and belief, Defendant NetEase Information Technology, Corp.’s

 8   registered agent for service process is CT Corporation System (C0168406), 818 West Seventh

 9   Street, Suite 930, Los Angeles, CA 90017.

10                                              JURISDICTION

11          6.      This Court has subject matter jurisdiction over PUBG’s claims for copyright

12   infringement under the Copyright Act pursuant to 17 U.S.C. §§ 101, 501 et seq. and 28 U.S.C. §§

13   1331 (federal subject matter jurisdiction) and 1338(a) (any act of Congress relating to copyrights,

14   patents and trademarks).

15          7.      This Court has subject matter jurisdiction over PUBG’s claims for trade dress

16   infringement under the Lanham Trademark Act pursuant to 15 U.S.C. 1051 et seq. and 28 U.S.C.

17   §§ 1331 and 1338(a).

18          8.      This Court has subject matter jurisdiction over PUBG’s claims for unfair competition

19   under California Unfair Competition Law pursuant to Cal. Bus. & Prof. Code § 17200 et seq. and 28

20   U.S.C. §§ 1338(b) and 1367.

21          9.      This Court has personal jurisdiction over Defendant NetEase because it regularly

22   conducts business in California and in this judicial district, including through its subsidiary,

23   Defendant NetEase IT, and through distribution of its mobile games through the Apple App Store

24   and the Android Google Play distribution network. This Court also has personal jurisdiction over

25   Defendant NetEase because it has committed acts in California and in this judicial district giving rise

26   to this action. To the extent Defendant NetEase is found not to be subject to jurisdiction in any

27   state’s courts of general jurisdiction, this Court has personal jurisdiction over Defendant NetEase

28   pursuant to Fed. R. Civ. P. 4(k)(2) because of its extensive contacts with the United States, including
                                                         2
           PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                              INFRINGEMENT AND UNFAIR COMPETITION
             Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 4 of 155



 1   the acts giving rise to this action.

 2            10.    This Court has personal jurisdiction over Defendant NetEase IT because it is

 3   incorporated in California, because it has its principal place of business in California and in this

 4   judicial district, and because it has committed acts in California and in this judicial district giving

 5   rise to this action.

 6            11.    Defendants are subject to both specific and general personal jurisdiction. Defendants

 7   market, monetize, and support the derivative works described below throughout the United States by

 8   means of the Apple App Store and Android Google Play distribution network. Further, on

 9   information and belief, Defendants regularly solicit and conduct business in and/or derive substantial

10   revenue from goods and services provided to residents of California. Accordingly, both jurisdiction

11   and venue are proper in this court. 28 U.S.C. §§ 1391 and 1400.

12                                                   VENUE

13            12.    Venue is proper in this judicial district pursuant to 28 U.S.C. §§ 1391(b) and (c) and

14   pursuant to 28 U.S.C. § 1400(a), because a substantial part of the events giving rise to this action

15   occurred in this judicial district, because Defendants are subject to this Court’s personal jurisdiction

16   with respect to this action, and because all Defendants reside either within this judicial district or

17   outside of the United States.

18                                     INTRADISTRICT ASSIGNMENT

19            13.    Pursuant to Civil L. R. 3-2(c), this action is excluded from the Court’s division-

20   specific venue rule and will be assigned on a district-wide basis because it is an Intellectual Property

21   case.

22                                          FACTUAL BACKGROUND

23                           Brendan Greene and the BATTLEGROUNDS Game

24            14.    Brendan Greene is a widely-recognized video game developer. Mr. Greene is well

25   known as “PlayerUnknown,” which is a screen name he used while playing and developing games.

26            15.    In or about March 2016, Bluehole Ginno Games, Inc. (“Bluehole Ginno”) hired Mr.

27   Greene to develop a computer game, which ultimately was named PLAYERUNKNOWN’S

28   BATTLEGROUNDS. On or about September 14, 2017, Plaintiff PUBG USA was formed as a
                                            3
         PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                      INFRINGEMENT AND UNFAIR COMPETITION
          Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 5 of 155



 1   wholly-owned subsidiary of Bluehole Ginno, to support the community of players and fans of

 2   PLAYERUNKNOWN’S BATTLEGROUNDS in the United States, including by promoting

 3   tournaments and interacting with players and streamers. On or about September 29, 2017, Bluehole

 4   Ginno was renamed PUBG Corp., and Plaintiff PUBG is the successor-in-interest to Bluehole Ginno

 5   with respect to PLAYERUNKNOWN’S BATTLEGROUNDS.

 6          16.     PLAYERUNKNOWN’S BATTLEGROUNDS (“BATTLEGROUNDS”) was

 7   developed as a computer video game for personal computers (“PCs”) running the Windows

 8   operating system. In early 2017, BATTLEGROUNDS was made accessible to limited groups of

 9   players during closed alpha and beta testing and development periods. On or about March 23, 2017,

10   an early-access beta version of BATTLEGROUNDS was made publicly available through Steam, an

11   online computer game distribution site. On or about December 20, 2017, PUBG released version 1.0

12   of BATTLEGROUNDS. PUBG has continued to expend considerable time, money and resources in

13   further development and promotion of BATTLEGROUNDS, and in fostering the

14   BATTLEGROUNDS community.

15          17.     Additionally, PUBG has developed and is continuing to develop versions of

16   BATTLEGROUNDS for platforms other than PCs running the Windows operating system. For

17   example, a licensed version of BATTLEGROUNDS for the Xbox gaming system was released on or

18   about December 12, 2017. As another example, PUBG is working with a third party to develop and

19   release mobile versions of BATTLEGROUNDS for the iOS and Android platforms. These mobile

20   versions are currently in beta testing and were recently publicly released.

21          18.     Bluehole Ginno and PUBG expended significant time, money, and other resources to

22   develop BATTLEGROUNDS. In early 2016, a team of about 35 developers was supporting this

23   project, and by June 2017 the team had expanded to about 70 developers.

24          19.     BATTLEGROUNDS became an instant hit and has achieved high levels of success in

25   the computer gaming and console gaming industry. When the early-access public beta version of

26   BATTLEGROUNDS was released in March 2017, it sold a million copies in less than a month and

27   reached the million-copies mark faster than any other game ever sold on the Steam distribution

28   platform. By July 2017, BATTLEGROUNDS had achieved over one hundred million dollars in
                                             4
            PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                            INFRINGEMENT AND UNFAIR COMPETITION
          Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 6 of 155



 1   sales. By September 2017, over ten million copies of BATTLEGROUNDS had been sold. In

 2   September 2017, BATTLEGROUNDS broke an all-time Steam record by having 1.35 million

 3   concurrent players (i.e., players playing at the same time). In December 2017, BATTLEGROUNDS

 4   reached 3 million concurrent players.

 5             20.   To date, over twenty-eight million copies of the PC version of BATTLEGROUNDS,

 6   and over four million copies of the Xbox version of BATTLEGROUNDS have been sold.

 7   Additionally, real-world and online BATTLEGROUNDS tournaments take place on a regular basis,

 8   with tens of thousands of participants, attendees, and viewers.

 9                   Copyrightable Audiovisual Subject Matter in BATTLEGROUNDS

10             21.   BATTLEGROUNDS is an original work of creative expression that provides

11   interactive audiovisual entertainment to players. BATTLEGROUNDS contains numerous unique,

12   creative audio and visual elements, including numerous individual works of creative expression that

13   each individually constitute copyrightable subject matter. Further, the selection and arrangement of

14   individual audio and visual elements in BATTLEGROUNDS constitutes copyrightable subject

15   matter. In addition, the total look and feel of BATTLEGROUNDS constitutes copyrightable subject

16   matter.

17             22.   BATTLEGROUNDS is an original work of authorship and, its audio-visual aspects

18   constitute copyrightable subject matter under the copyright laws of the United States. Plaintiff

19   PUBG owns, and at all relevant times and including through its predecessor Bluehole Ginno has

20   owned, the copyrights in BATTLEGROUNDS and has complied with all statutory requirements in

21   securing a federal copyright registration for this work. Applications to register Plaintiff PUBG’s

22   copyrights in the audio-visual aspects of the early-access public beta and subsequent versions of

23   BATTLEGROUNDS for PC were filed on March 30, 2018. 1

24             23.   The copyrightable audiovisual aspects of the PC version of BATTLEGROUNDS 2

25   1
       Case Nos. 1-6444365542 and 1-6444329777 (for PLAYERUNKNOWN’S BATTLEGROUNDS
26   (Version 2.6), and Case Nos. 1-6444365308 and 1-6444027916 (for PLAYERUNKNOWN’S
     BATTLEGROUNDS (Version 2.1)).
     2
27     The current PC version of BATTLEGROUNDS differs from the early-access public beta version for
     PC in certain respects but generally provides the same or similar game play experience and the
28   elements depicted here appear in both. The early-access Xbox version of BATTLEGROUNDS and
                                                        5
            PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                              INFRINGEMENT AND UNFAIR COMPETITION
          Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 7 of 155



 1   include individual and collective creative and artistic expressions within the game, including but not

 2   limited to the following audio/visual/audiovisual/gameplay arrangement and look and feel.

 3          24.     Pre-Game Lobby and Waiting Area. Each game of BATTLEGROUNDS begins

 4   with all of the players entering from a “lobby” to a designated waiting area on the play map.

 5   Typically, players wait in a lobby, where they can potentially chat, but not physically (in the virtual

 6   world) interact with each other or the game play environment. BATTLEGROUNDS provides a

 7   waiting area located within the game play map to allow the players to interact with each other and

 8   the game play area. Weapons such as hand-held melee weapons (e.g., machete, crowbar, and the

 9   iconic frying pan), grenades, hand guns, shot guns, and various types of rifles and machine guns are

10   available for players to explore and experience without inflicting damage.

11

12

13

14

15

16

17

18

19   The players are able to talk to and interact with each other, practice firing their weapons, and roam
20   around the scene. The players remain in this interactive pre-game waiting area until enough players
21   have connected to the game for competitive gameplay to begin.
22

23

24

25

26   the closed beta development mobile versions of BATTLEGROUNDS also vary in certain aspects but
     generally provide the same or similar game play experience as the PC versions. The elements
27   depicted here also appear in the Xbox version of BATTLEGROUNDS. Hereafter,
     “BATTLEGROUNDS” refers to the first early-access public beta version for PC and subsequent
28   versions that are the subject of the copyright registration applications.
                                                         6
            PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                               INFRINGEMENT AND UNFAIR COMPETITION
          Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 8 of 155



 1

 2

 3

 4

 5

 6

 7

 8

 9

10   The pre-game waiting area creatively provides the players with an interactive audiovisual
11   experience, allowing them to engage with each other and explore the environment and weapons of
12
     the game before competitive gameplay begins. This lower-pressure, slower-paced illustration of
13
     objects, scenes, and actions is an artistic presentation that allows players to experience and
14
     appreciate these aspects of the animated fantasy world differently than they do during tense
15

16   competitive gameplay. The creative expression of a pre-game lobby and interactive waiting area in

17   BATTLEGROUNDS is a copyrightable audio-visual work, individually and/or in combination with

18   other elements of BATTLEGROUNDS. Additionally, this creative expression of the pre-game
19   lobby and interactive waiting area has taken on secondary meaning as an emblem of
20
     BATTLEGROUNDS and of PUBG. For example, it has been the subject of a live-action
21
     BATTLEGROUNDS parody skit, available at
22
     https://www.youtube.com/watch?v=cPGLLZu5lz4&list=PLSMETuURtTXCngmWf_wUWfnzTjn0
23

24   4XF-B&index=10.

25

26

27

28
                                          7
            PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                         INFRINGEMENT AND UNFAIR COMPETITION
          Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 9 of 155



 1          25.     Air Jump. When a sufficient number of players have connected to the game

 2   (typically, 100 players), the players are transported to an aircraft. In other shooter games, players

 3   “spawn” or just appear on the game play map in either a pre-designated or random location. Rather

 4   than the typical spawning mechanic, BATTLEGROUNDS has created an interactive approach which

 5   allows the player to choose where to begin play on the game play map.

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                          8
            PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                         INFRINGEMENT AND UNFAIR COMPETITION
         Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 10 of 155



 1   As the aircraft flies over a game play map, the player can watch the aircraft and the game play map

 2   terrain underneath. The route of the aircraft is randomized for each game. The route can be seen on

 3   a mini-map embedded within a corner of the game play screen as well as a map screen showing the

 4   entire island in which the plane is indicated by a   symbol.

 5

 6

 7

 8

 9

10

11

12

13

14

15   Each player can choose to jump out of the aircraft anywhere along the route of the aircraft. The time
16   at which a player chooses to jump affects the player’s experience in dropping down to ground level
17   which, in turn, affects the location where the player will land. During the jump, the player can
18   choose to free fall and guide him/herself towards different areas of the play map. During free fall,
19   the player has a bird’s eye panoramic view of the play map and can view other players as they also
20   descend to Earth.
21

22

23

24

25

26

27

28
                                          9
            PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                         INFRINGEMENT AND UNFAIR COMPETITION
         Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 11 of 155



 1

 2

 3

 4

 5

 6

 7

 8

 9

10   At any time before reaching a critical low altitude, the player can open his/her parachute and glide
11   down to a landing.
12

13

14

15

16

17

18

19

20

21   The Air Drop experience in BATTLEGROUNDS is a creative artistic experience created by PUBG.
22   This aspect of the game artistically presents the fantasy world of BATTLEGROUNDS through
23   unusual and varied angles of perspective and movement. It provides the player with a dynamic and
24   interactive game-starting and location-selecting experience, in contrast to conventional shooter
25   games in which characters spawn in pre-determined or random locations. Additionally, the player
26   experiences an audiovisual representation of free-falling to earth while surveying the game play
27   terrain and other players in freefall and while parachuting to earth—an unprecedented experience in
28
                                          10
            PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                         INFRINGEMENT AND UNFAIR COMPETITION
         Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 12 of 155



 1   shooter games. This creative and interactive expression of the introduction to a game play map

 2   expresses a narrative fantasy through creative images and sounds. The Air Jump is a copyrightable

 3   audio-visual work, individually and/or in combination with other elements of BATTLEGROUNDS.

 4   Additionally, this creative expression of the Air Jump has taken on secondary meaning as an emblem

 5   of BATTLEGROUNDS and of PUBG. For example, it has been featured in live-action

 6   BATTLEGROUNDS parody skits, such as those available at

 7   https://www.youtube.com/watch?v=4hqqFqcr1K8 and

 8   https://www.youtube.com/watch?v=cPGLLZu5lz4&list=PLSMETuURtTXCngmWf_wUWfnzTjn0

 9   4XF-B&index=10.

10          26.     Play Map. While many shooter games have a game play map, each game play map

11   is unique. Similarly, PUBG created a unique game play map, as shown below, which is much larger

12   than previous shooter games. The player’s decision when to jump from the aircraft and to freefall to

13   a particular location on the game play map may also depend upon the actual game play map.

14   BATTLEGROUNDS uses a single game play map entitled “Erangel.”

15

16

17

18

19

20

21

22

23

24

25

26
     As shown, above, Erangel is a large island with a secondary island connected by bridges and a
27
     smaller third island (top right corner) that is not connected to the main island. The islands are
28
                                          11
            PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                         INFRINGEMENT AND UNFAIR COMPETITION
         Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 13 of 155



 1   populated with different types of game play areas and terrains, such as towns, a military base, a port,

 2   farms, a lighthouse, various buildings, canals, roads, open space and thousands of other unique

 3   elements. Plaintiff PUBG created Erangel, including the types and locations of game play areas, and

 4   the designs of the terrain and buildings, to give players a unique visual gameplay experience, as well

 5   as a diversity of areas for game play. The Play Map, a unique and creative expression of a game

 6   play map, is a copyrightable visual and/or audio-visual work, individually and/or in combination

 7   with other elements of BATTLEGROUNDS.

 8          27.     Character Attributes. While many shooter games display attributes of a player,

 9   BATTLEGROUNDS include unique and creative expressions of certain types of attributes created

10   by PUBG. Each player has a set of attributes, such as health and speed. All characters possess the

11   same set of attributes. During gameplay, a health bar is displayed. A unique expression of health

12   and abilities in BATTLEGROUNDS is the display of a “boost” bar. Initially, players start with zero

13   boost. Certain items, explained with regard to consumables, below, can increase a player’s boost

14   level. Depending upon the amount of boosting, the player’s health is increased at different rates over

15   time. At higher levels of boost, the player also receives an increase in speed.

16

17

18

19

20

21

22

23

24

25

26

27

28
                                          12
            PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                         INFRINGEMENT AND UNFAIR COMPETITION
           Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 14 of 155



 1   The “boost” factor is unique to BATTLEGROUNDS, created to provide an additional dimension to

 2   the typical health/hit points attributes used in prior games. These and other creative expressions of

 3   the unique attributes, especially the effects of the level of boost, are copyrightable audio-visual

 4   works, individually and/or in combination with other elements of BATTLEGROUNDS.

 5   Additionally, this creative expression of boost has taken on secondary meaning as an emblem of

 6   BATTLEGROUNDS and of PUBG. For example, it has been featured in a live-action

 7   BATTLEGROUNDS parody skit, available at

 8   https://www.youtube.com/watch?v=DBwpMDaMoOI&list=PLSMETuURtTXCngmWf_wUWfnzTj

 9   n04XF-B&index=1.

10           28.    Equipment Acquisition. In BATTLEGROUNDS, each player lands with nothing

11   except clothing and a belt. After landing, the player must seek out weapons, modifications to

12   weapons, ammunition, armor, equipment, clothing and consumables. The player can also find and

13   use vehicles located throughout the map. Starting with nothing is a key creative and artistic

14   component of BATTLEGROUNDS. The requirement of scavenging results in the players being

15   forced to compete for resources and necessary interaction.

16

17

18

19

20

21

22

23

24   29.     BATTLEGROUNDS’ unique expression of Equipment Acquisition is a copyrightable audio-
25   visual work, individually and/or in combination with other elements of BATTLEGROUNDS.
26   Additionally, this creative expression of equipment acquisition has taken on secondary meaning as
27   an emblem of BATTLEGROUNDS and of PUBG. For example, it has been featured in live-action
28   BATTLEGROUNDS parody skits, such as those available at
                                               13
         PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                      INFRINGEMENT AND UNFAIR COMPETITION
         Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 15 of 155



 1   https://www.youtube.com/watch?v=kM8Cws9tiTQ&list=PLSMETuURtTXCngmWf_wUWfnzTjn0

 2   4XF-B&index=5 and https://www.youtube.com/watch?v=4hqqFqcr1K8.

 3          30.     Weapons, Modifications and Ammunition. BATTLEGROUNDS includes realistic

 4   weapons to simulate real life combat. PUBG created a realistic combat environment, including

 5   realistic weapons action (e.g., recoil) and sounds. These expressions of specific weapon audio

 6   elements used in BATTLEGROUNDS are protectable works as a combination of the audio synced

 7   to the visual operation of the weapons. The types of weapons include melee weapons (e.g., crowbar,

 8   machete, sickle and a frying pan), bows, hand guns, rifles, shot guns, assault rifles, sniper rifles,

 9   machine guns and grenades. The visual appearances of the weapons are realistic, but each weapon

10   has been stylized to make it distinct from actual real life weapons. For example, the grain pattern on

11   wooden pieces, configurations of the rifles and machine guns, the wear on melee weapons all

12   provide unique details and styling to each weapon, as seen below.

13   Ammunition for the various firearms can also be found. To add further realism, items that modify

14

15

16

17

18

19

20

21

22   the operation of the firearms can also be found, such as different types of optical scopes, stocks,

23   magazines of varying capacities, suppressors, and grips. The variety of modifications provides

24   thousands of combinations of available weapons, leading to diverse gameplay. Additionally, PUBG

25   assigned specific characteristics to each weapon, such as the amount of damage per hit they inflict,

26   recoil, reload time, number of rounds per magazine, range, blast radius (e.g., shotgun and grenades).

27          31.     These expressions of specific characteristics of the weapons, weapon modifications,

28   and ammunition are copyrightable works, providing realism during gameplay as well as a balanced
                                                    14
           PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                           INFRINGEMENT AND UNFAIR COMPETITION
         Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 16 of 155



 1   game experience for the players. With regard to damage, PUBG added a further creative aspect to

 2   the BATTLEGROUNDS game. As discussed further with regard to armor, the amount of damage

 3   depends upon where the opposing player is hit. If the opposing player is hit in the body or the head,

 4   different amounts of damage are inflicted on the opposing player. Additionally, the amount of armor

 5   worn by the opposing player affects the amount of damage received by the opposing player. All

 6   these unique expressions of BATTLEGROUNDS weapons, weapon modifications, and ammunition

 7   are individually and/or in combination with each other or with other elements of

 8   BATTLEGROUNDS protectable copyrightable audio, visual and/or audio-visual works.

 9          32.     Armor. In addition to weapons, the player can find and use various types of armor.

10   In particular, the types of armor in BATTLEGROUNDS include helmets and vests. Helmets

11   provide armor protection to the player’s head, while the vests provide armor protection to the body.

12   There are three levels of armor protection for both helmets and vests. Vests also increase carrying

13   capacity, as explained further with regard to belts and backpacks, below. Again, PUBG created

14   specific statistics for the amount of armor protection and reduction in damage received from a hit.

15   Additionally, each piece of armor can only absorb a specific amount of damage (i.e., hit points)

16   before the armor is rendered ineffective. Shown, below, are images of the various armor and

17   helmets.

18

19

20

21

22

23

24

25   The helmet with the visor, in particular, has achieved secondary meaning, becoming intricately
26   identified with BATTLEGROUNDS. A Google search for “PUBG helmet” or “Battlegrounds
27   helmet” results in hits that for the most part include the image of the helmet with the visor. PUBG
28   created unique visually realistic appearing expressions of armor such as helmets and vests, while
                                                       15
            PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                              INFRINGEMENT AND UNFAIR COMPETITION
         Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 17 of 155



 1   adding flair and artistry to these expressions to make them copyrightable visual and/or audio-visual

 2   works, individually and/or in combination with each other or with other elements of

 3   BATTLEGROUNDS.

 4          33.     Clothing. In addition to armor, the user can pick up additional clothing, such as

 5   jackets, pants, hats, goggles, glasses, gloves, masks, shoes and shirts. The pieces of clothing do not

 6   affect gameplay but is an artistic expression that provides the player with a visually diverse

 7   gameplay experience as well as allowing each player to express him/herself. The use of mixed

 8   street-wear and military equipment further reinforces the imaginative experience for players by

 9   furthering the game’s premise in which everyday citizens from different backgrounds are forced into

10   an environment in which only one player will be left alive.

11

12

13

14

15

16

17

18

19

20

21

22

23

24   However, clothing does affect gameplay in terms of camouflage. Clothing can be used to assist the

25   player to blend in with the environment, making the player less visually detectable. In particular,

26   BATTLEGROUNDS includes a Ghillie suit, a full body suit covered with camouflaging material

27   typically used by snipers. The Ghillie suit allows the player to become nearly visually invisible

28   depending upon the terrain.
                                          16
            PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                         INFRINGEMENT AND UNFAIR COMPETITION
         Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 18 of 155



 1

 2

 3

 4

 5

 6

 7

 8

 9

10
     Unlike other shooter games, BATTLEGROUNDS does not display player designators above
11
     opposing players. The player must visually detect an opposing player without any aid other than
12
     equipment found in gameplay, such as an optical scope. Thus, the colors and stylings of the clothing
13
     found in BATTLEGROUNDS adds to the rich tapestry of the gameplay experience while permitting
14
     artistic expression. The appearances and styles of clothing found in BATTLEGROUNDS are
15
     protectable visual and/or audio-visual works, individually and/or in combination with each other or
16
     with other elements of BATTLEGROUNDS.
17
            34.     Equipment. The BATTLEGROUNDS player can also find equipment, such as belts
18
     and backpacks. Belts and backpacks not only have unique visual appearances, they are functional as
19
     well. Each player starts with a belt, which permits the player to hold a certain amount of items
20
     (capacity). Additionally, the belt allows the player to attach two weapons to his/her waist, such as a
21
     melee weapon or grenade. The backpack provides additional carrying capacity.
22

23

24

25

26

27

28
                                          17
            PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                         INFRINGEMENT AND UNFAIR COMPETITION
         Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 19 of 155



 1   The belts and the different types of backpacks can carry different amounts of equipment and

 2   supplies, as developed by PUBG. As noted, PUBG also created uniquely creative visual appearances

 3   for each belt and backpack, making them copyrightable visual and/or audio-visual works,

 4   individually and/or in combination with each other or with other BATTLEGROUNDS elements.

 5          35.     Configuration. The player has the freedom to determine how to equip him/herself

 6   during gameplay. PUBG designed slots for easily accessible weapons. In particular, two slots are

 7   designated for rifles or shotguns, each carried around one of the player’s shoulders. A third slot is

 8   designated for a hand gun. Fourth and fifth slots are designated for melee weapons or grenades, to

 9   be carried along the player’s waist.

10

11

12

13

14

15

16

17

18

19   Additionally, clothing, equipment and armor are equipped as appropriate on the character’s body.

20   The particular set up of the configurable slots is a unique expression created by PUBG, and the slots

21   are copyrightable visual and/or audio-visual works, individually and/or in combination with each

22   other or with other BATTLEGROUNDS elements.

23          36.     The “Frying Pan.” One very beloved aspect of creative expression in

24   BATTLEGROUNDS is the game’s iconic frying pan. Previous shooter games did not include the

25   use of a frying pan. In BATTLEGROUNDS, a character who obtains a frying pan may use it as a

26   hand-held melee weapon and also may use it as armor. When the frying pan is equipped on a

27   character’s waist, the frying pan is depicted as covering the character’s posterior (buttocks). When

28   so equipped, as a purely artistic and creative expression injecting humor into the game, the frying
                                                        18
            PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                              INFRINGEMENT AND UNFAIR COMPETITION
         Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 20 of 155



 1   pan is the only indestructible armor in the game (i.e., armor that can absorb infinite hit points

 2   without deteriorating), providing complete protection against projectiles aimed at a character’s

 3   posterior. Thus, the imaginative treatment of a frying pan as a melee weapon is made even more

 4   remarkable by its further treatment as armor against shots to the butt of a character. The frying pan

 5   element thus creatively adds humor and whimsy to the audiovisual presentation of the game. PUBG

 6   animation of a frying pan as both weapon and indestructible butt armor is a copyrightable visual

 7   and/or audio-visual work, individually and/or in combination with other elements of the

 8   BATTLEGROUNDS.

 9

10

11

12

13

14

15

16

17                               Character holding frying pan as melee weapon

18

19

20

21

22

23

24

25

26

27                                   Ricochet off frying pan worn as armor

28
                                          19
            PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                         INFRINGEMENT AND UNFAIR COMPETITION
         Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 21 of 155



 1   Furthermore, the frying pan has taken on secondary meaning as an emblem of the

 2   BATTLEGROUNDS game and of PUBG. For example, it has been the subject of a live-action

 3   BATTLEGROUNDS parody skit, available at,

 4   https://www.youtube.com/watch?v=jfQGY8xaxO0&list=PLSMETuURtTXCngmWf_wUWfnzTjn0

 5   4XF-B&index=12. It has also been featured in other BATTLEGROUNDS parodies and memes.

 6   See, e.g., https://www.youtube.com/watch?v=bywZTWzkuQM; see also

 7   https://9gag.com/gag/aVM1Aby/best-pubg-armor.

 8

 9

10

11

12

13

14

15

16

17
                                        Sample PUBG frying pan meme
18
            37.     Consumables. While the player attempts to stay alive, he/she can also gather
19
     consumables, such as bandages, first aid and medical kits, painkillers, adrenaline syringes, energy
20
     drinks and gas cans. Bandages, first aid kits and medical kits heal the character’s health varying
21
     amounts instantly upon application, the application time of each also varying. The energy drink,
22
     painkiller and syringe increase the player’s boost level, which provides regeneration over time
23
     and/or an increase in player speed, as discussed with regard to boost level, above. However, the
24
     energy drink instantly increases the player’s character’s health a set amount, and also increases the
25
     player’s boost level. The syringe can only be found in an air dropped supply box, and provides the
26
     largest amount of increase in boost level, providing healing and speed boost. The gas can is used to
27
     refuel vehicles, as discussed further, below. The expressions of the consumables’ abilities to
28
                                          20
            PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                         INFRINGEMENT AND UNFAIR COMPETITION
         Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 22 of 155



 1   increase the health of a player, as well as increasing the player’s boost level, are unique to

 2   BATTLEGROUNDS and are copyrightable visual and/or audio-visual works, individually and/or in

 3   combination with each other or with other BATTLEGROUNDS elements. Additionally, the unique

 4   depictions of certain consumables in BATTLEGROUNDS, such as the energy drinks, have taken on

 5   secondary meaning as emblems of BATTLEGROUNDS and PUBG due to their non-traditional,

 6   light-hearted and whimsical use. For example, the energy drinks have been the subject of a live-

 7   action BATTLEGROUNDS parody skit, available at

 8   https://www.youtube.com/watch?v=DBwpMDaMoOI&list=PLSMETuURtTXCngmWf_wUWfnzTj

 9   n04XF-B&index=1 and

10   https://www.youtube.com/watch?v=V_vUrY1MczI&index=9&list=PLSMETuURtTXCngmWf_wU

11   WfnzTjn04XF-B&index=9 ; see also https://www.youtube.com/watch?v=V_vUrY1MczI.

12          38.     Vehicles. Plaintiff PUBG has included vehicles to BATTLEGROUNDS to provide

13   an immersive life like experience. In addition to the planes that drop the players and supply boxes,

14   various automobiles and boats can be found throughout the game play map. Automobiles include

15   stylized buggies, off road vehicles, motorcycles (with or without a sidecar), vans, pickups, and

16   sedans. Each automobile has distinctive operating sounds that can be recognized by experienced

17   players. The automobiles come in varying colors and conditions. Automobiles also start with a

18   certain amount of boost, which when activated increases the speed of the automobile but at the cost

19   of increased fuel consumption. As noted previously, players can refuel automobiles with gas cans.

20

21

22

23

24

25

26

27

28
                                          21
            PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                         INFRINGEMENT AND UNFAIR COMPETITION
         Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 23 of 155



 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18          39.      The automobiles exhibit realistic handling. For example, taking a hard turn may

19   cause the automobile to flip over. Automobiles may also provide a measure of protection from fire

20   from opposing players as well, but can also explode from enemy fire. Additionally, players can

21   obtain a speed boat or jet ski to travel over the water to the islands. Additionally, other types of

22   vehicles can be seen and heard throughout the game, such as the plane used for the parachute drop,

23   and the plane used for parachuting supply boxes, as discussed further, below. These vehicles also

24   have distinctive and artistic operating sounds which players can recognize during game play. These

25   expressions of vehicles in BATTLEGROUNDS are copyrightable audio, visual and/or audio-visual

26   works, individually and/or in combination with each other or with other BATTLEGROUNDS

27   elements. These expressions of vehicles have also taken on secondary meaning as an emblem of

28   BATTLEGROUNDS and of PUBG. For example, they have been featured in live-action
                                          22
            PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                         INFRINGEMENT AND UNFAIR COMPETITION
         Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 24 of 155



 1   BATTLEGROUNDS parody skits, such as those available at

 2   https://www.youtube.com/watch?v=sQ6s6ujf6kY&list=PLSMETuURtTXCngmWf_wUWfnzTjn04

 3   XF-B&index=2 ,

 4   https://www.youtube.com/watch?v=V_vUrY1MczI&index=9&list=PLSMETuURtTXCngmWf_wU

 5   WfnzTjn04XF-B&index=9, and https://www.youtube.com/watch?v=4hqqFqcr1K8.

 6          40.     Weapon, Equipment and Vehicle Spawning. While many of the weapons,

 7   consumables and vehicles are located randomly throughout the game play map, they may also spawn

 8   at certain set locations. Fixed spawn locations allows experienced players to focus on certain areas

 9   of the game play map to obtain items and vehicles. Spawn locations of highly desired items further

10   promote players to interact in BATTLEGROUNDS. The mix of randomness and fixed spawn

11   locations provides unlimited possibilities for game play strategy. These expressions of weapons,

12   equipment, and vehicle spawning are copyrightable visual and/or audio-visual works, individually

13   and/or in combination with other elements of BATTLEGROUNDS.

14

15

16

17

18

19

20

21

22                                     Equipment spawning in a house
23

24

25

26

27

28
                                          23
            PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                         INFRINGEMENT AND UNFAIR COMPETITION
         Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 25 of 155



 1

 2

 3

 4

 5

 6

 7

 8
                                        Vehicle spawning in a garage
 9
            41.    Game Areas & Buildings. The BATTLEGROUNDS game play map includes a
10
     number of areas, such as towns, farms, a power plant and even a shooting range. The artistic
11
     renderings and locations of these areas provide an entertaining backdrop to game play in
12
     BATTLEGROUNDS.
13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                          24
            PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                         INFRINGEMENT AND UNFAIR COMPETITION
         Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 26 of 155



 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18   In addition, PUBG has created artistic renderings of various type of buildings throughout the
19
     immersive game play map. Buildings include outposts, warehouses, houses, buildings, and even a
20
     lighthouse. Again, the variety and types of buildings create a realistic environment, as well as
21
     providing strategic locations for game play.
22

23

24

25

26

27

28
                                          25
            PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                         INFRINGEMENT AND UNFAIR COMPETITION
         Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 27 of 155



 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25   Thus, these expressions of landscapes and buildings within BATTLEGROUNDS are copyrightable
26   visual and/or audio-visual works, individually and/or in combination with each other or with other
27   elements of BATTLEGROUNDS.
28
                                          26
            PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                         INFRINGEMENT AND UNFAIR COMPETITION
         Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 28 of 155



 1          42.     Movement. Players can move around in many different ways. They can stand, walk,

 2   run, take a prone position, crawl in a prone position or take a kneeling position. The various

 3   positions provide benefits and disadvantages. For example, a player can shoot a rifle most

 4   accurately in a prone position, but leaves the player vulnerable if detected. Shooting from a standing

 5   position is less accurate, but the player can readily walk or run to cover after taking a shot.

 6   However, walking and running creates more noise than crawling. These expressions of player

 7   movements and accompanying sounds in Battleground are copyrightable audio, visual and/or audio-

 8   visual works, individually and/or in combination with each other or with other elements of

 9   BATTLEGROUNDS.

10          43.     Sounds and Noise. The audiovisual experience of BATTLEGROUNDS includes

11   numerous expressive sounds that contribute to the audiovisual depiction of the imaginary spaces,

12   objects, and actions. Unlike other computer games, there is no music during gameplay. The player

13   must listen to his/her environment to obtain a competitive edge. For example, the player can hear an

14   opposing player’s footsteps, a supply drop aircraft flying overhead, and the distinctive gunshots of

15   the various firearms. PUBG created each unique sound to augment the realism of the audiovisual

16   presentation; they allow the player to react to the sounds and, with a trained ear, distinguish the type

17   of firearm being used. As another example, each vehicle sounds different. A player can discern the

18   approach of a vehicle, and potentially determine the vehicle type, from sounds. These distinctive

19   audiovisual expressions add richness to the gameplay created by PUBG. In fact, many

20   commentators have identified the relationship between success in the game and the ability to identify

21   and discern these player, weapon and vehicle sounds. See, e.g.,

22   https://www.turtlebeach.com/blog/how-audio-helps-you-get-your-chicken-dinner-in-pubg/;

23   https://www.redbull.com/gb-en/pubg-xbox-one-tips-guide;

24   https://www.youtube.com/watch?v=zBSBu72qF0s. The game also includes other distinctive

25   sounds, such as the sounds of parachuting through the wind, the sounds of male and female

26   characters being attacked, the sound of tires destroying objects, and the sounds of item acquisition.

27   These unique sounds are copyrightable in combination with other elements of BATTLEGROUNDS.

28
                                          27
            PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                         INFRINGEMENT AND UNFAIR COMPETITION
         Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 29 of 155



 1           44.     Air Drops. Another artistic aspect of BATTLEGROUNDS are air drops of supply

 2   boxes from a flying aircraft. As the aircraft approaches, the players can hear the sound of the

 3   aircraft, alerting them to a potential air drop.

 4

 5

 6

 7

 8

 9

10

11

12
     The supply boxes are colored red and covered by a blue tarp, and parachute down from the aircraft.
13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                          28
            PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                         INFRINGEMENT AND UNFAIR COMPETITION
         Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 30 of 155



 1   When the supply box lands, red smoke wafts up from the landing site, drawing the attention of

 2   players to the location of the supply box and creating a dramatic visual impression.

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20   The supply box provides the first player to reach it with either weapons, modifications to weapons

21   (e.g., a scope), ammunition, clothing (e.g., camouflaged clothing) or medical supplies. Players can

22   either speed towards the supply box to obtain the supplies, or lurk around the supply box to snipe

23   other players that approach the supply box. These expressions of air drops in BATTLEGROUNDS

24   are copyrightable, individually and/or in combination with each other or with other elements of

25   BATTLEGROUNDS. The supply boxes also have also taken on secondary meaning as an emblem

26   of BATTLEGROUNDS and of PUBG. Fans have created skits evoking the identifiable red smoke

27   and red and blue supply boxes. See https://www.youtube.com/watch?v=0dG6HliC9OI;

28   https://www.youtube.com/watch?v=YDp87dUytd8.
                                          29
            PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                         INFRINGEMENT AND UNFAIR COMPETITION
         Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 31 of 155



 1          45.     Bombardment Zone (Red Zones). PUBG inserted an artistic periodic event where a

 2   circular zone, marked in red on the game map, is targeted for bombardment. Prior to bombardment,

 3   the players are warned of the impending barrage. This creative event conveys fear, danger, and

 4   urgency, causing players to either seek shelter or evade the bombardment, potentially running into

 5   other players. However, merely obtaining shelter may not completely protect the player if he/she is

 6   too near an opening (e.g., door or window). The bombardment is an artistic catalyst to create further

 7   interaction between the players. This expression of a bombardment zone is a copyrightable visual

 8   and/or audio-visual work, individually and/or in combination with other elements of

 9   BATTLEGROUNDS. The bombardment zone has also taken on secondary meaning as an emblem

10   of BATTLEGROUNDS and of PUBG. For example, it has been featured as a punchline in multiple

11   live-action BATTLEGROUNDS parody skits, available at

12   https://www.youtube.com/watch?v=pqSN7lsPs2k.

13          46.     Shrinking Gameplay. The conclusion of each game is creatively precipitated by the

14   shrinking of the gameplay area within the map. A timer is provided to the players notifying them

15   when the viable play area will shrink to a circle within the game play map. The first large circle is

16   displayed in white on the game map, indicating where the players will be confined after the timer

17   expires. A large blue circle covering the entire map appears and slowly shrinks down to the first

18   white circle. Players caught outside of the closing blue circle will begin losing health until they

19   either reach the interior of the first white circle or their health falls to zero. A new timer begins and

20   a smaller circle within the first circle appears on the map. After the expiration of the second timer,

21   the first circle is displayed in blue, which begins shrinking down to the smaller white. The process

22   repeats four times, until the game play is restricted to a final circle of area representing a relatively

23   small area within the game play map.

24

25

26

27

28
                                          30
            PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                         INFRINGEMENT AND UNFAIR COMPETITION
         Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 32 of 155



 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17
     The rate of loss of health outside the circles also increases, players caught outside the final circle
18
     instantly falling to zero health. This creative aspect of BATTLEGROUNDS forces the players to
19
     converge to a single location to resolve who will be the last player standing. The timing, sizes, and
20
     progression of the shrinking game play area results in a unique experience in each game, paces
21
     gameplay to reduce lulls in the action, and provides ever increasing tension in the game. PUBG’s
22
     expression of the shrinking game play area is a copyrightable visual and/or audio-visual work,
23
     individually and/or in combination with other elements of BATTLEGROUNDS. The shrinking
24
     game play area has also taken on secondary meaning as an emblem of BATTLEGROUNDS and of
25
     PUBG. For example, it has been the subject of various live-action BATTLEGROUNDS parody
26
     skits. See
27
     https://www.youtube.com/watch?v=RPFZgk_O8Ok&list=PLSMETuURtTXCngmWf_wUWfnzTjn
28
                                          31
            PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                         INFRINGEMENT AND UNFAIR COMPETITION
         Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 33 of 155



 1   04XF-B&index=3;

 2   https://www.youtube.com/watch?v=V_vUrY1MczI&index=9&list=PLSMETuURtTXCngmWf_wU

 3   WfnzTjn04XF-B&index=9; https://www.youtube.com/watch?v=pqSN7lsPs2k;

 4   https://www.youtube.com/watch?v=YDp87dUytd8; and

 5   https://www.youtube.com/watch?v=4hqqFqcr1K8. See also

 6   https://www.youtube.com/watch?v=sQ6s6ujf6kY&list=PLSMETuURtTXCngmWf_wUWfnzTjn04

 7   XF-B&index=2;

 8   https://www.youtube.com/watch?v=5FW7xb8jWew&list=PLSMETuURtTXCngmWf_wUWfnzTjn

 9   04XF-B&index=25.

10          47.     “Down But Not Out.” BATTLEGROUNDS features three play modes: (1) “solo” in

11   which a each player fights alone against the field; (2) “duo” in which players are teamed into groups

12   of two and fight to be the last duo remaining; and (3) “squad” in which players are grouped into

13   squads of 4 and fight to be the last squad remaining. In “duo” and “squad” modes, every member of

14   a team needs to die to be considered defeated. However, in both modes, players survive for a short

15   time even after their health/energy has been depleted. During this time, that player may be revived

16   by a team who crouches next to the fallen player for a pre-determined period of time which is

17   referred to as “Down But Not Out (“DBNO”).” PUBG’s expression of DBNO gameplay is a

18   copyrightable visual and/or audio-visual work, individually and/or in combination with other

19   elements of BATTLEGROUNDS. The DBNO gameplay element has also taken on secondary

20   meaning as an emblem of BATTLEGROUNDS and of PUBG. For example, it has been the subject

21   of various live-action BATTLEGROUNDS parody skits. See

22   https://www.youtube.com/watch?v=HhZZIu8Yem4&list=PLSMETuURtTXCngmWf_wUWfnzTjn0

23   4XF-B&index=4;

24   https://www.youtube.com/watch?v=KD9sMqp7bdE&list=PLSMETuURtTXCngmWf_wUWfnzTjn

25   04XF-B&index=6; and

26   https://www.youtube.com/watch?v=5FW7xb8jWew&list=PLSMETuURtTXCngmWf_wUWfnzTjn

27   04XF-B&index=25.

28
                                          32
            PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                         INFRINGEMENT AND UNFAIR COMPETITION
         Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 34 of 155



 1          48.     “Winner Winner Chicken Dinner.” Should a player be the last player standing at

 2   the end of the game, he/she is rewarded with a salutary “Winner Winner Chicken Dinner!”

 3   announcement.

 4

 5

 6

 7

 8

 9

10
                                  Victory Screen from BATTLEGROUNDS
11

12   The juxtaposition of this lighthearted expression of victory with the survival narrative of the game
13   adds elements of surprise and humor to the work, and the artistic inclusion of this emphatic
14   expression has become particularly beloved by the gaming community. “Winner Winner Chicken
15   Dinner” in the context of a shooter game is a copyrightable work in combination with other elements
16   of Battleground. Furthermore, this catchphrase has taken on secondary meaning within the gaming
17   community as an emblem of BATTLEGROUNDS and of PUBG; it has become nearly synonymous
18   with BATTLEGROUNDS to gamers.
19   As an example, this phrase also has been featured in memes, live-action parody videos, and other
20   responsive content created by fans. For example, it has been featured in live-action
21   BATTLEGROUNDS parody skits, such as those available at
22   https://www.youtube.com/watch?v=jfQGY8xaxO0&list=PLSMETuURtTXCngmWf_wUWfnzTjn0
23   4XF-B&index=12, https://www.youtube.com/watch?v=O9JsWOo-
24   Qyk&list=PLSMETuURtTXCngmWf_wUWfnzTjn04XF-B&index=13,
25   https://www.youtube.com/watch?v=EAnPxrg5kUE&index=16&list=PLSMETuURtTXCngmWf_w
26   UWfnzTjn04XF-B&index=16, and https://www.youtube.com/watch?v=4hqqFqcr1K8, and it has
27   also been featured in other BATTLEGROUNDS parodies and memes.
28
                                          33
            PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                         INFRINGEMENT AND UNFAIR COMPETITION
         Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 35 of 155



 1                                  Copying in Rules of Survival Game

 2          49.    Rules of Survival: Rules of Survival (“ROS”) is a video game that was made and

 3   released by Defendants. ROS was released for mobile devices in the United States on or about

 4   November 14, 2017.

 5          50.    On information and belief, Defendants created ROS by copying BATTLEGROUNDS

 6   and with the intention of creating a version of BATTLEGROUNDS for mobile devices.

 7          51.    On information and belief, Defendants intended to create consumer confusion as to

 8   the source of ROS and intended to cause consumers to believe, incorrectly, that ROS had been

 9   developed by PUBG. On information and belief, Defendants intended to misappropriate consumer

10   goodwill toward PUBG in order to market and gain economic benefit from ROS.

11          52.    On information and belief, there has in fact been confusion in the marketplace as to

12   the source and origin of ROS, with consumers believing, incorrectly, that ROS was developed by

13   PUBG. For example, ROS has been referred to in the marketplace as “PUBG on Mobile,” “Mobile

14   PUBG,” and the “BEST MOBILE PUBG”:

15

16

17

18

19

20

21

22

23

24

25

26
                        Sampling of player videos available at https://goo.gl/hNupQo
27

28
                                          34
            PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                         INFRINGEMENT AND UNFAIR COMPETITION
         Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 36 of 155



 1          53.     On information and belief, commentators in the industry have characterized ROS as a

 2   copy, “rip-off,” “knock-off,” or “clone” of BATTLEGROUNDS. For example, one industry

 3   commentator observed that “fans viewed the game [i.e., ROS] simply as a rip-off of the highly

 4   successful ‘PlayerUnknown’s Battlegrounds (‘PUBG’)” because “[e]verything about it screamed

 5   ‘PUBG’ as the majority of its elements seem to have been taken from the popular Xbox One title.”

 6   https://www.christiantoday.com/article/rules-of-survival-update-includes-bigger-map-that-can-fit-

 7   300-players/125498.htm. Other industry commentators have repeatedly characterized ROS as a

 8   “clone” or “knock-off” of BATTLEGROUNDS, or “[h]eavily modeled after” BATTLEGROUNDS.

 9   Samples of such commentary are available at http://toucharcade.com/2018/02/07/new-300-player-

10   fearless-fjord-map-is-now-playable-in-latest-rules-of-survival-update/;

11   https://www.cnet.com/news/playerunknown-battlegrounds-mobile-rules-of-survival-clone/;

12   http://www.pocketgamer.co.uk/r/Android/Rules+of+Survival/feature.asp?c=76595; and

13   https://www.vg247.com/2017/10/18/remember-that-chinese-mobile-pubg-knock-off-its-back-with-

14   new-gameplay/.

15          54.     On information and belief, the ROS app can be downloaded to a mobile device free of

16   charge, and the ROS game can be played free of charge. On information and belief, Defendants have

17   released ROS into the marketplace at or below cost for the purpose of gaining market share before

18   PUBG releases BATTLEGROUNDS for mobile devices.

19          55.     ROS contains many elements that are substantially similar to copyrightable elements

20   of creative audiovisual expression in BATTLEGROUNDS, including at least the following.

21          56.     Total Look and Feel. The overall look, feel, and audiovisual style of ROS closely

22   mimic the stylized realism of BATTLEGROUNDS.

23

24

25

26

27

28
                                          35
            PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                         INFRINGEMENT AND UNFAIR COMPETITION
     Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 37 of 155



 1           Rules of Survival                       BATTLEGROUNDS

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                     36
       PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                    INFRINGEMENT AND UNFAIR COMPETITION
         Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 38 of 155



 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13
            57.     Overall Gameplay. The overall look and feel of gameplay in ROS very closely
14
     matches that of BATTLEGROUNDS. For example, the narrative arc of the game; the audio and
15
     visual representations of movement, shooting, healing and boosting; and the battle formats presented
16
     (e.g., player versus everyone and small teams versus everyone) all correspond to those of
17
     BATTLEGROUNDS.
18
            58.     Boosting. ROS includes boosting misappropriates the boosting aspect of
19
     BATTLEGROUNDS, thus copying this unique expression of bodily nourishment and fortification in
20
     the artistic manner created by PUBG. ROS includes a health (hit points) bar with symbols located
21
     over it: a heart with a plus symbol, which indicates regeneration, and a running symbol indicating
22
     increased speed, very similar to BATTLEGROUNDS’ boost bar. Both BATTLEGROUNDS and
23
     ROS offer an energy drink as one boost item and a syringe as another boost item, and in both games
24
     the syringe is available only via air drop. In both games, the energy drinks increases hit points, and
25
     potentially a boost in speed. In both games, the syringe restores a greater amount of health as well
26

27

28
                                          37
            PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                         INFRINGEMENT AND UNFAIR COMPETITION
         Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 39 of 155



 1   as providing increased speed.

 2

 3

 4

 5

 6

 7

 8

 9

10          59.    Pre-Play Area. As in BATTLEGROUNDS, the ROS audiovisual experience begins
11   with a pre-play area where players can meet each other and try out weapons while waiting for
12   enough players to join. While prior games have used pre-play screens and areas, the expressive
13   depiction of a pre-play area in BATTLEGROUNDS, which encourages players to interact with
14   another, use weapons, and explore gameplay mechanics is unique. On information and belief,
15   Defendants copied PUBG’s expressive depictions of the pre-play area where other depictions could
16   have been used for the purpose of evoking the same pre-play experience depicted in
17   BATTLEGROUNDS.
18

19

20

21

22

23

24

25

26

27

28
                                          38
            PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                         INFRINGEMENT AND UNFAIR COMPETITION
         Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 40 of 155



 1          60.     Play Map. Like BATTLEGROUNDS, ROS provides a map defining the area of

 2   play, and the ROS map is substantially similar to the BATTLEGROUNDS map. The

 3   BATTLEGROUNDS map and ROS map each comprises a large island in a square-ish shape with a

 4   canal leading to a large city, along with a smaller unconnected island. Both maps feature towns,

 5   farms, buildings, fields, trees, roads, bridges and feature mountainous topography which is depicted

 6   as if taken using a reconnaissance satellite as well as featured location indicators and white lettered

 7   descriptions of those featured areas. Although maps have been used in prior games, the depiction of

 8   the map in ROS is strikingly similar to the depiction of the map in BATTLEGROUNDS. On

 9   information and belief, Defendants copied PUBG’s expressive depiction of the map where another

10   depiction could have been used.

11

12

13

14

15

16

17

18

19

20

21
                                      BATTLEGROUNDS Play Area Map
22

23

24

25

26

27

28
                                          39
            PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                         INFRINGEMENT AND UNFAIR COMPETITION
         Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 41 of 155



 1

 2

 3

 4

 5

 6

 7

 8

 9

10
                                             ROS Play Area Map
11

12          61.    Scenes and Locations. Many of the locations, structures, landscapes, and other

13   features within the ROS play area closely correspond to those within the BATTLEGROUNDS play

14   area. For example, the BATTLEGROUNDS play area and the ROS play area each contain a

15   shooting range, a rural aqueduct, a port with shipping containers and a farm area. These areas in KO

16   are strikingly similar to those in BATTLEGROUNDS. On information and belief, Defendants

17   copied PUBG’s expressive depictions of the scenes and locations identified below where other

18   depictions could have been used for the purpose of evoking the same gameplay experience depicted

19   in BATTLEGROUNDS.

20

21

22

23

24

25

26

27

28
                                          40
            PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                         INFRINGEMENT AND UNFAIR COMPETITION
     Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 42 of 155



 1

 2

 3

 4

 5

 6

 7

 8

 9                        BATTLEGROUNDS shooting range
10

11

12

13

14

15

16

17

18

19                               ROS shooting range

20

21

22

23

24

25

26

27

28
                                     41
       PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                    INFRINGEMENT AND UNFAIR COMPETITION
         Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 43 of 155



 1   Additionally, they each contain a concrete aqueduct in a rural setting.

 2

 3

 4

 5

 6

 7

 8

 9

10

11                                    BATTLEGROUNDS rural aqueduct
12

13

14

15

16

17

18

19

20

21                                            ROS rural aqueduct

22

23

24

25

26

27

28
                                          42
            PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                         INFRINGEMENT AND UNFAIR COMPETITION
         Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 44 of 155



 1   Additionally, they each contain a port with many shipping containers, where items spawn in similar
 2   locations in both games.
 3

 4

 5

 6

 7

 8

 9

10

11
                                BATTLEGROUNDS port with shipping containers
12

13

14

15

16

17

18

19

20
                                       ROS port with shipping containers
21

22

23

24

25

26

27

28
                                          43
            PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                         INFRINGEMENT AND UNFAIR COMPETITION
         Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 45 of 155



 1   Additionally, they each contain a farm area with a tractor and haystacks that provide cover.

 2

 3

 4

 5

 6

 7

 8

 9

10                                       BATTLEGROUNDS farm area

11

12

13

14

15

16

17

18

19                                              ROS farm area

20          62.     Buildings. The ROS play area contains numerous buildings that are substantially

21   similar to buildings in BATTLEGROUNDS. Although buildings have been used in prior games, the

22   facades and layouts of the buildings in ROS are strikingly similar to those in BATTLEGROUNDS.

23   On information and belief, Defendants copied PUBG’s expressive depictions of the buildings

24   identified below where other depictions could have been used for the purpose of evoking the same

25   gameplay experience depicted in BATTLEGROUNDS. For example, each game contains a two-

26   story home with a garage, garage roof deck, front door, windows, rooflines, and masses of the same

27   shapes, proportions, and layouts.

28
                                          44
            PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                         INFRINGEMENT AND UNFAIR COMPETITION
     Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 46 of 155



 1

 2

 3

 4

 5

 6

 7

 8
                          BATTLEGROUNDS two-story home
 9

10

11

12

13

14

15

16

17

18                              ROS two-story home

19

20

21

22

23

24

25

26

27

28
                                     45
       PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                    INFRINGEMENT AND UNFAIR COMPETITION
         Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 47 of 155



 1

 2

 3

 4

 5

 6

 7

 8

 9                       Garage roof deck on BATTLEGROUNDS two-story home
10

11

12

13

14

15

16

17

18

19                                Garage roof deck on ROS two-story home

20   As another example, both games contain a three-story residential building with masses, rooflines,

21   entrances, windows, and roof decks, of the same shapes, proportions, and layouts.
22

23

24

25

26

27

28
                                          46
            PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                         INFRINGEMENT AND UNFAIR COMPETITION
     Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 48 of 155



 1

 2

 3

 4

 5

 6

 7

 8

 9
                  Three-story residential building in BATTLEGROUNDS
10

11

12

13

14

15

16

17

18
                         Three-story residential building in ROS
19

20

21

22

23

24

25

26

27

28
                                     47
       PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                    INFRINGEMENT AND UNFAIR COMPETITION
        Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 49 of 155



 1

 2

 3

 4

 5

 6

 7

 8

 9                 Roof deck on three-story residential building in BATTLEGROUNDS
10

11

12

13

14

15

16

17

18
                            Roof deck on three-story residential building in ROS
19

20   As another example, each game contains an elongated single-story building with mass, windows,

21   roofline, entrance, doorway, steps, balconies, railings of the same shapes, proportions, and layouts.
22

23

24

25

26

27

28
                                         48
           PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                        INFRINGEMENT AND UNFAIR COMPETITION
         Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 50 of 155



 1

 2

 3

 4

 5

 6

 7

 8

 9
                                    Single-story building in Battleground
10

11

12

13

14

15

16

17

18
                                        Single-story building in ROS
19

20   As another example, each game contains an observation tower with a platform, roof, and staircase of

21   approximately the same shape and proportions.

22

23

24

25

26

27

28
                                          49
            PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                         INFRINGEMENT AND UNFAIR COMPETITION
         Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 51 of 155



 1

 2

 3

 4

 5

 6

 7

 8
                                 Observation towers in BATTLEGROUNDS
 9

10

11

12

13

14

15

16

17
                                           Observation tower in ROS
18

19   The foregoing are selected representative examples and not an exhaustive catalogue of the large

20   number of similarities in the BATTLEGROUNDS and ROS game play areas.

21          63.     Air Jump. Play begins in ROS with a transport airplane from which players jump,

22   freefall, and parachute into the play area. As in BATTLEGROUNDS, the route of the plane is

23   shown in a mini-map within the play screen, and players can choose to jump at any point. Both ROS

24   and BATTLEGROUNDS use similar types of vehicles, similar expressions of a satellite-view map

25   depicting various locations and their names, and similar expressions to indicate the user’s location

26   on the map. On information and belief, Defendants copied PUBG’s expressive depictions of an Air

27

28
                                          50
            PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                         INFRINGEMENT AND UNFAIR COMPETITION
         Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 52 of 155



 1   Jump where other depictions could have been used for the purpose of evoking the same introductory

 2   experience felt by players of BATTLEGROUNDS.

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18
                                Transport Airplane in BATTLEGROUNDS
19

20

21

22

23

24

25

26

27

28
                                         51
           PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                        INFRINGEMENT AND UNFAIR COMPETITION
     Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 53 of 155



 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16                            Transport Airplane in ROS

17

18

19

20

21

22

23

24

25

26

27                           Airplane Route Map in PUBG
28
                                     52
       PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                    INFRINGEMENT AND UNFAIR COMPETITION
         Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 54 of 155



 1

 2

 3

 4

 5

 6

 7

 8
                                          Airplane Route Map in ROS
 9

10          64.     Freefall and Parachuting. As in BATTLEGROUNDS, following the jump from the

11   airplane, a player can choose to freefall or parachute toward the ground. The depiction of freefall in

12   KO is strikingly similar to the depiction of freefall in BATTLEGROUNDS. Further, KO uses the

13   same depiction of a parachute as used in BATTLEGROUNDS. On information and belief,

14   Defendants copied PUBG’s expressive depictions of freefall and parachuting, where other depictions

15   could have been used, solely for the purpose of evoking the same introductory experience felt by

16   players of BATTLEGROUNDS.

17

18

19

20

21

22

23

24

25                                     Freefall in BATTLEGROUNDS

26

27

28
                                          53
            PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                         INFRINGEMENT AND UNFAIR COMPETITION
         Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 55 of 155



 1

 2

 3

 4

 5

 6

 7
                                             Freefall in ROS
 8

 9

10

11

12

13

14

15

16                                 Parachuting in BATTLEGROUNDS
17

18

19

20

21

22

23

24                                         Parachuting in ROS
25          65.    Weapons. The firearms, melee weapons, and throwable weapons in ROS are
26   substantially similar to those in BATTLEGROUNDS. In general, and on information and belief,
27   each weapon in ROS corresponds to a weapon in BATTLEGROUNDS that is the same type of
28
                                         54
           PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                        INFRINGEMENT AND UNFAIR COMPETITION
         Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 56 of 155



 1   weapon, inflicts the same or a similar amount of damage per hit, has a similar appearance, has a

 2   similar operation, has similar attachments, and has a similar name. Further, the assortment of

 3   weapons and weapon types available in ROS are substantially similar to those in

 4   BATTLEGROUNDS, as explained in further detail below.

 5          66.     Firearms. The firearms in ROS are substantially similar to those in

 6   BATTLEGROUNDS, having the same or similar type, appearance, and, on information and belief,

 7   performance statistics (e.g., load capacity and damage inflicted per discharge). For example, the

 8   “Tommy Gun” submachine gun in BATTLEGROUNDS and the “Thompson” submachine gun in

 9   ROS have substantially similar appearances and performance statistics. Although weapons have

10   been used in prior games, on information and belief, Defendants have copied PUBG’s graphical,

11   statistical and audio expressions of the weapons identified below where other graphical, statistical

12   and audio expressions could have been used. For example, note the similarity of the grip, magazine

13   and the stock of both the BATTLEGROUNDS “M416” and the ROS “MA14” assault rifle.

14

15

16

17

18

19
                                “M416” Assault Rifle in BATTLEGROUNDS
20

21

22

23

24

25
                                         “MA14” Assault Rifle in ROS
26

27

28
                                          55
            PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                         INFRINGEMENT AND UNFAIR COMPETITION
          Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 57 of 155



 1   As another example, the “Tommy Gun” submachine gun in BATTLEGROUNDS and the

 2   “Thompson” submachine gun in ROS have substantially similar appearances and performance

 3   statistics.

 4

 5

 6

 7

 8
                           “Tommy Gun” Submachine Gun in BATTLEGROUNDS
 9

10

11

12

13
                                     “Thompson” Submachine Gun in ROS
14

15   As another example, the “AWM” sniper rifle in BATTLEGROUNDS and the “AWM” sniper rifle in

16   ROS have substantially similar appearances and performance statistics. Note the same color scheme

17   of the two rifles. Both rifles are available in different color schemes, but Defendants chose the color

18   scheme of their AWM rifle to closely mimic the appearance of the AWM rifle in

19   BATTLEGROUNDS.

20

21

22

23
                                 “AWM” Sniper Rifle in BATTLEGROUNDS
24

25

26

27

28
                                           56
             PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                          INFRINGEMENT AND UNFAIR COMPETITION
         Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 58 of 155



 1

 2

 3

 4

 5

 6                       “AWM” Sniper Rifle in ROS, with scope and bipod attached
 7   The foregoing are selected representative examples and not an exhaustive catalogue of the large
 8   number of similarities.
 9          67.     Attachments and Modifications for Firearms. The attachments and modifications
10   for firearms in ROS are substantially similar to those in BATTLEGROUNDS, having the same or
11   similar type, appearance, and on information and belief, performance statistics. For example, both
12   games offer muzzle attachments in the form of silencers/suppressors, flash hiders, compensators, and
13   a shotgun choke; both games offer an angled grip attachment and vertical grip attachment; both
14   games offer similar assortments of magazines and stocks, including “Extended” magazines,
15   “QuickDraw” magazines, and “Extended QuickDraw” magazines; and both games offer similar
16   assortment of scopes, including a “red dot sight” that is depicted similarly in both games. Selected
17   representative examples are shown below:
18

19

20

21

22
                                   “Red Dot Sight” in BATTLEGROUNDS
23

24

25

26

27
                                           “Red Dot Sight” in ROS
28
                                          57
            PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                         INFRINGEMENT AND UNFAIR COMPETITION
         Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 59 of 155



 1

 2

 3

 4

 5

 6
                         Angled Foregrip and Vertical Foregrip in BATTLEGROUNDS
 7

 8

 9

10

11

12                                 Triangle Grip and Vertical Foregrip in ROS

13   For example, note that the sniper rifle check pads in both games depict two adjustments in the exact

14   same position despite the fact that this type of cheek pad is highly uncommon. In fact, when
15   searching “sniper rifle cheek pad,” on Google, the only result depicting this style of cheek pad
16
     references the cheek pad used in BATTLEGROUNDS.
17
     https://www.google.com/search?safe=off&biw=943&bih=921&tbm=isch&sa=1&ei=YY2yWq3QJq
18
     LajwSd7rDIAw&q=sniper+rifle+cheek+pad&oq=sniper+rifle+cheek+pad&gs_l=psy-
19

20   ab.3...0.0.0.5996.0.0.0.0.0.0.0.0..0.0....0...1c..64.psy-ab..0.0.0....0.-JD66v_6sts:

21

22

23

24

25

26                             Cheek Pad for Sniper Rifle in BATTLEGROUNDS
27

28
                                          58
            PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                         INFRINGEMENT AND UNFAIR COMPETITION
     Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 60 of 155



 1

 2

 3

 4

 5

 6
                            Sniper Rifle Cheek Pad in ROS
 7

 8

 9

10

11

12

13
                     Bullet Loops for Shotgun in BATTLEGROUNDS
14

15

16

17

18

19                           Shotgun Bullet Loop in ROS
20

21

22

23

24

25            Extended Magazine for Submachine Guns in BATTLEGROUNDS
26

27

28
                                     59
       PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                    INFRINGEMENT AND UNFAIR COMPETITION
         Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 61 of 155



 1

 2

 3

 4

 5                              Submachine Gun Extended Magazine for ROS
 6

 7

 8

 9

10

11           Suppressor, Compensator, and Flash Hider for Sniper Rifles in BATTLEGROUNDS
12

13

14

15

16                     Silencer, Compensator, and Flash Hider for Sniper Rifles in ROS
17   The foregoing are selected representative examples and not an exhaustive catalogue of the large
18   number of similarities.
19          68.     Melee Weapons. The melee weapons in ROS are substantially similar to those in
20   BATTLEGROUNDS. Both games offer a frying pan and a crowbar that are depicted similarly and
21   operate similarly. The use of cookware as a melee weapon is highly uncommon in shooter type
22   games, and Defendants’ use of a frying pan with the same shape and properties as the frying pan
23   introduced in BATTLEGROUNDS was intended to misappropriate Plaintiff PUBG’s unique
24   expression
25

26

27

28
                                          60
            PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                         INFRINGEMENT AND UNFAIR COMPETITION
         Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 62 of 155



 1

 2

 3

 4

 5

 6

 7

 8

 9                             Frying Pan and Crowbar in BATTLEGROUNDS

10

11

12

13

14

15
                                        Frying Pan and Crowbar in ROS
16

17   Additionally, in ROS, a rubber chicken is available as a melee weapon that causes damage. Holding

18   the rubber chicken also enables the character to run faster. The use of a rubber chicken to illustrate

19   the form of this melee weapon is unnecessary because other objects could have been used to

20   illustrate the same functions. On information and belief, Defendants’ decision to include a rubber

21   chicken as a melee weapon in ROS was made for the sole purpose of evoking the iconic “Winner

22   Winner Chicken Dinner” emblem of BATTLEGROUNDS.

23

24

25

26
                                    Rubber Chicken Melee Weapon in ROS
27
            69.     Throwable Weapons. The throwable weapons in ROS also are substantially similar
28
                                          61
            PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                         INFRINGEMENT AND UNFAIR COMPETITION
         Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 63 of 155



 1   to those in BATTLEGROUNDS. Each game has four grenades: a frag grenade, a stun grenade, a

 2   smoke grenade, and a Molotov cocktail. The grenades are depicted similarly, operate similarly, and,

 3   upon information and belief, inflict the same level of damage in each game. For example, in both

 4   BATTLEGROUNDS and ROS, the Molotov cocktail does not have a delayed explosion.

 5

 6

 7

 8

 9
              Fragmentation Grenade, Stun Grenade, Smoke Grenade, and Molotov Cocktail in
10                                        BATTLEGROUNDS
11

12

13

14

15

16

17
                 Frag Grenade, Stun Grenade, Smoke Grenade, and Molotov Cocktail in ROS
18

19   The grenades in ROS are depicted similarly to the grenades in BATTLEGROUNDS. The frag

20   grenade in each game is depicted as having a removable pin, a lever and a rounded body. The stun

21   and smoke grenades are each oblong cylinders with a pin and lever and have writing on the side of

22   the canister. On information and belief, Defendants copied PUBG’s expressive depictions of the

23   grenades identified above where other depictions could have been used. Additionally, ROS includes

24   an exploding chicken grenade, which is depicted as a metal chicken. It has a larger blast radius than

25   the frag grenade but deals the same amount of damage. The use of a chicken head to illustrate a

26   grenade variation is unnecessary, because other objects or images could have been used to illustrate

27   the same functions. On information and belief, Defendants’ decision to include an exploding

28   chicken as a throwable weapon in ROS was made for the sole purpose of evoking the iconic “Winner
                                          62
            PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                         INFRINGEMENT AND UNFAIR COMPETITION
         Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 64 of 155



 1   Winner Chicken Dinner” emblem of BATTLEGROUNDS.

 2

 3

 4

 5

 6

 7

 8          70.     Armor. The armor in ROS is substantially similar to the armor in
 9   BATTLEGROUNDS. Each game has three levels of helmets and three levels of body armor, and
10   these items are depicted similarly, operate similarly, and, on information and belief, provide the
11   same levels of damage reduction.
12

13

14

15

16

17   BATTLEGROUNDS Helmets providing good damage reduction (Level 1), better damage reduction
                 (Level 2), and best damage reduction (Level 3), respectively
18

19

20

21

22    ROS Helmets providing good damage reduction (Level 1), better damage reduction (Level 2), and
                             best damage reduction (Level 3), respectively
23

24   The different levels of helmets are expressed similarly across both games. For example, the “Level
25   1” helmet in both games is a motorcycle or scooter-style helmet which covers the top, back and sides
26   of the wearer’s head. The “Level 2” helmet in both games is a camouflaged military helmet and
27   covers the same areas of the wearer’s head as the “Level 1” helmet. Finally, the “Level 3” helmet in
28   both games resembles a special forces helmet covers all sides of the wearer’s head including the
                                                     63
            PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                            INFRINGEMENT AND UNFAIR COMPETITION
         Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 65 of 155



 1   front and has a shiny black appearance, and both include a visor. On information and belief,

 2   Defendants copied PUBG’s expressive depictions of the helmets identified above where other

 3   depictions could have been used.

 4

 5

 6

 7

 8

 9
        BATTLEGROUNDS Body Armor providing good damage reduction (Level 1), better damage
10             reduction (Level 2), and best damage reduction (Level 3), respectively
11

12

13

14
      ROS Body Armor providing good damage reduction (Level 1), better damage reduction (Level 2),
15                        and best damage reduction (Level 3), respectively
16   Additionally, both games provide a frying pan for use as armor, as discussed further below.
17          71.     Frying Pan. As explained above in paragraph 68, ROS provides a frying pan that can
18   be used both as a melee weapon and as armor, as in BATTLEGROUNDS. The frying pan in ROS is
19   designed with the same shape and characteristics as the frying pan in BATTLEGROUNDS. As with
20   the BATTLEGROUNDS frying pan, the ROS frying pan provides medium damage output when
21   used as a melee weapon and can deflect shots when in a character’s hand or on a character’s back.
22   The use of a frying pan to illustrate this item of weaponry and armor is unnecessary to the game,
23   because other objects could have been used to illustrate the same functions. On information and
24   belief, Defendants’ decision to include a frying pan as a melee weapon and armor item in ROS was
25   made for the sole purpose of evoking the iconic frying pan emblem of BATTLEGROUNDS.
26

27

28
                                          64
            PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                         INFRINGEMENT AND UNFAIR COMPETITION
     Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 66 of 155



 1

 2

 3

 4

 5

 6

 7
                Frying pan wielded as melee weapon in BATTLEGROUNDS
 8

 9

10

11

12

13

14
                       Frying pan wielded as melee weapon in ROS
15

16

17

18

19

20

21

22

23                 Frying pan worn as butt armor in BATTLEGROUNDS
24

25

26

27

28
                                     65
       PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                    INFRINGEMENT AND UNFAIR COMPETITION
         Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 67 of 155



 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15
                                     Frying pan worn as butt armor in ROS
16

17          72.     Clothing and Other Wearable Equipment. The clothing and other items of

18   wearable equipment in ROS are substantially similar to those in BATTLEGROUNDS. Each game

19   has a similar assortment of such items, which are depicted similarly, operate similarly, and, on

20   information and belief, possess the same or similar statistics. For example, ROS offers three levels

21   of backpacks with increasing capacity, corresponding to those in BATTLEGROUNDS.

22

23

24

25

26

27

28
                                          66
            PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                         INFRINGEMENT AND UNFAIR COMPETITION
         Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 68 of 155



 1

 2

 3

 4

 5

 6

 7
         BATTLEGROUNDS Backpacks providing good damage reduction (Level 1), better damage
 8              reduction (Level 2), and best damage reduction (Level 3), respectively
 9

10

11

12
     ROS Backpacks providing good damage reduction (Level 1), better damage reduction (Level 2), and
13                           best damage reduction (Level 3), respectively
14   The different levels of backpacks are expressed similarly across both games. For example, the

15   “Level 1” and “Level 2” backpacks in both games are similarly contoured. The “Level 3” backpacks

16   in both games are much rounder and noticeably distinct from other backpacks. On information and

17   belief, Defendants copied PUBG’s expressive depictions of the backpacks identified above where

18   other depictions could have been used. As another example, ROS offers a full-body “Ghillie Suit”

19   that camouflages a player like the full-body “Ghillie Suit” in BATTLEGROUNDS.

20

21

22

23

24

25

26

27                                  Ghillie Suit in BATTLEGROUNDS

28
                                          67
            PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                         INFRINGEMENT AND UNFAIR COMPETITION
     Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 69 of 155



 1

 2

 3

 4

 5

 6

 7

 8

 9                                Ghillie Suit in ROS
10

11

12

13

14

15

16

17                 Character wearing Ghille Suit in BATTLEGROUNDS
18

19

20

21

22

23

24

25

26
                          Character wearing Ghille Suit in ROS
27

28
                                     68
       PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                    INFRINGEMENT AND UNFAIR COMPETITION
         Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 70 of 155



 1   As another example, ROS offers various types of pants, shirts, shoes, jackets, hats, gloves, masks,

 2   glasses, goggles that can be worn by characters, all of which correspond to similar items in

 3   BATTLEGROUNDS. This type of clothing allows characters to be depicted in everyday outfits

 4   rather than in traditional combat gear. Whereas other video games use only traditional military

 5   uniforms, the availability of everyday street clothing as well as military gear in both

 6   BATTLEGROUNDS and ROS furthers each game’s conceit of different types of people being

 7   forced to fight one another rather than the traditional video game use of traditional soldiers in a

 8   warzone.

 9

10

11

12

13

14

15

16

17                               Examples of clothing in BATTLEGROUNDS

18

19

20

21

22

23

24

25

26

27

28
                                          69
            PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                         INFRINGEMENT AND UNFAIR COMPETITION
         Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 71 of 155



 1

 2

 3

 4

 5

 6

 7

 8

 9                                       Examples of clothing in ROS

10
     The foregoing are selected representative examples and not an exhaustive catalogue of the large
11
     number of similarities.
12
            73.     Character Configuration. The configuration of characters in ROS is substantially
13
     similar to that of characters in BATTLEGROUNDS. The organization and capacity of slots for
14
     holding items on a character’s body in ROS are identical to those in BATTLEGROUNDS, exception
15
     that the ROS configuration has one less waist slot. The significance of this variation is very minor,
16
     however, because it is largely negated by another adjustment, i.e., grenades occupy a waist slot in
17
     BATTLEGROUNDS but come equipped (without occupying any configurable slot) in ROS.
18
     Additionally, in ROS a frying pan may be placed over a character’s butt by assigning it to the fist
19
     slot, just as in BATTLEGROUNDS.
20

21

22

23

24

25

26

27

28
                                          70
            PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                         INFRINGEMENT AND UNFAIR COMPETITION
         Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 72 of 155



 1

 2

 3

 4

 5

 6

 7

 8

 9
                                    Character Configuration in BATTLEGROUNDS
10

11

12

13

14

15

16

17
                                         Character Configuration in ROS
18

19          74.     Consumables. The consumable resources in ROS are substantially similar to those in
20   BATTLEGROUNDS. Each game has a similar assortment of such items, which are depicted
21   similarly, operate similarly, and, on information and belief, possess the same or similar statistics.
22   Every consumable item in ROS has a direct counterpart in BATTLEGROUNDS, and
23   BATTLEGROUNDS has only one consumable item (a painkiller depicted as a prescription pill
24   bottle) that lacks a direct counterpart in ROS. For example, each game offers a drink that boosts
25   health and is depicted as a can of everyday beverage which everyday logic suggests would be unable
26   to heal wounds but is used instead in both games to comically provide a non-traditional method of
27   restoring health. The shared use of this non-traditional health boost demonstrates that Defendants
28   copied PUBG’s expressive depiction of a health boost in order to evoke the same feeling and
                                                     71
            PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                           INFRINGEMENT AND UNFAIR COMPETITION
         Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 73 of 155



 1   experience felt by players in BATTLEGROUNDS.

 2

 3

 4

 5

 6                                  “Energy Drink” in BATTLEGROUNDS
 7

 8

 9

10
                                            “Sports Drink” in ROS
11
     As another example, each game offers a bandage, a first aid kit, and a medical kit that may be used
12

13   to restore health following injury.

14

15

16

17

18

19                       Bandage, First Aid Kit, and Med Kit in BATTLEGROUNDS

20

21

22

23
                                  Bandage, First Aid Kit, and Med Kit in ROS
24
     As another example, both games offer a syringe that fills the player’s boost bar and can be found
25
     only in air-dropped supply boxes.
26

27

28
                                          72
            PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                         INFRINGEMENT AND UNFAIR COMPETITION
         Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 74 of 155



 1

 2

 3

 4                                Adrenaline Syringe in BATTLEGROUNDS

 5

 6

 7

 8

 9                                       Cardio Tonic Syringe in ROS

10   As another example, both games offer a fuel container that can be used to refuel vehicles.

11

12

13

14

15
                                       Gas Can in BATTLEGROUNDS
16

17

18

19

20                                             Fuel Barrel in ROS

21   The foregoing are selected representative examples and not an exhaustive catalogue of the large

22   number of similarities.

23          75.      Vehicles. The vehicles in ROS are substantially similar to those in

24   BATTLEGROUNDS. Each game has a similar assortment of vehicles, which are depicted similarly

25   and, on information and belief, possess the same or similar statistics. For example, both games offer

26   a motorcycle.

27

28
                                          73
            PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                         INFRINGEMENT AND UNFAIR COMPETITION
         Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 75 of 155



 1

 2

 3

 4

 5

 6

 7

 8                                   Motorcycles in BATTLEGROUNDS

 9

10

11

12

13

14

15                                            Motorcycle in ROS

16   As a further example, both games use Jeeps that share the same basic structure, including open-air

17   seating and metal bars at the front of the car that can be used as weapons against pedestrian

18   opponents.

19

20

21

22

23

24

25

26

27                                       UAZ in BATTLEGROUNDS
28
                                          74
            PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                         INFRINGEMENT AND UNFAIR COMPETITION
         Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 76 of 155



 1

 2

 3

 4

 5

 6

 7
                                                 Jeep in ROS
 8

 9   As a further example, both games also use sedans that are farcically unequipped for and misplaced in

10   the battlefields depicted in each game.

11

12

13

14

15

16

17

18          Vehicle in BATTLEGROUNDS with vehicle boost bar depicted under vehicle fuel bar
19

20

21

22

23

24

25

26

27
                    Vehicle in ROS with vehicle boost bar depicted under vehicle fuel bar
28
                                          75
            PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                         INFRINGEMENT AND UNFAIR COMPETITION
         Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 77 of 155



 1   The foregoing are selected representative examples and not an exhaustive catalogue of the large

 2   number of similarities.

 3          76.     Air-Dropped Supply Boxes. ROS features air-dropped supply boxes that are

 4   substantially similar to those in BATTLEGROUNDS. As in BATTLEGROUNDS, in ROS, the

 5   supply boxes are dropped from an aircraft, which can be heard by the players before the supply

 6   boxes drop down. The supply boxes in ROS are depicted in a different color combination than those

 7   in BATTLEGROUNDS, but the ROS supply boxes mimic their BATTLEGROUNDS counterparts

 8   in all other respects. For example, the supply boxes in both games are covered in tarps and let out

 9   visually dramatic plumes of red smoke after landing. On information and belief, Defendants copied

10   PUBG’s expressive depictions of the air-drop area where other depictions could have been used for

11   the purpose of evoking the same iconic air-drop experience depicted in BATTLEGROUNDS.

12

13

14

15

16

17

18

19

20

21

22                        Aircraft That Drops Supply Boxes in BATTLEGROUNDS

23

24

25

26

27

28
                                          76
            PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                         INFRINGEMENT AND UNFAIR COMPETITION
     Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 78 of 155



 1

 2

 3

 4

 5

 6

 7

 8

 9
                        Aircraft That Drops Supply Boxes in ROS
10

11

12

13

14

15

16

17

18

19
             Supply Box With Red Smoke After Landing in BATTLEGROUNDS
20

21

22

23

24

25

26

27

28
                                     77
       PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                    INFRINGEMENT AND UNFAIR COMPETITION
     Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 79 of 155



 1

 2

 3

 4

 5

 6

 7

 8
                    Supply Box With Red Smoke After Landing in ROS
 9

10

11

12

13

14

15

16

17                        Supply Box in BATTLEGROUNDS

18

19

20

21

22

23

24

25

26
                                  Supply Box in ROS
27

28
                                     78
       PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                    INFRINGEMENT AND UNFAIR COMPETITION
         Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 80 of 155



 1          77.      Bombardment Zone. ROS includes a bombardment zone feature that is substantially

 2   similar to the bombardment zone feature in BATTLEGROUNDS. As in BATTLEGROUNDS, the

 3   bombardment zone in ROS periodically spawns and is depicted by a red-shaded area superimposed

 4   on the miniature play area map within the play screen. As in BATTLEGROUNDS, players in ROS

 5   receive a warning message about the bombardment zone, and during bombardments interior spaces

 6   away from windows within buildings are safe.

 7

 8

 9

10

11

12

13

14

15                Bombardment Zone indicated by red shading on maps in BATTLEGROUNDS
16

17

18

19

20

21

22

23
                         Bombardment Zone indicated by red shading on maps in ROS
24

25

26

27

28
                                         79
           PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                        INFRINGEMENT AND UNFAIR COMPETITION
         Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 81 of 155



 1          78.     Shrinking Gameplay Area. ROS includes a shrinking gameplay area feature that is

 2   substantially similar to the shrinking gameplay area feature in BATTLEGROUNDS. As in

 3   BATTLEGROUNDS, the shrinking gameplay area in ROS is depicted by a white circle on the

 4   gameplay area map. In both games, the circle shrinks in iterations, with each iteration encompassing

 5   one-third of the previous area. Both games also display a timer that warns players when the next

 6   shrink will occur.

 7

 8

 9

10

11

12

13

14

15

16
                          Shrinking circle and timer depicted in BATTLEGROUNDS
17

18

19

20

21

22

23

24

25

26

27        Mini-map showing shrinking blue circle indicating restricted area in BATTLEGROUNDS

28
                                          80
            PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                         INFRINGEMENT AND UNFAIR COMPETITION
         Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 82 of 155



 1

 2

 3

 4

 5

 6

 7

 8
                                   Shrinking circle and timer depicted in ROS
 9

10          79.     “Winner Winner Chicken Dinner.” On information and belief, when a player

11   emerges victorious at the end of ROS, his or her screen displays “WINNER WINNER CHICKEN

12   DINNER,” the same catchphrase that was creatively selected by PUBG to congratulate winners of

13   BATTLEGROUNDS and that has become emblematic of BATTLEGROUNDS. The phrase is

14   displayed in all capital letters in both games.

15

16

17

18

19

20

21

22                           Sample victory screen display in BATTLEGROUNDS
23

24

25

26

27

28
                                          81
            PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                         INFRINGEMENT AND UNFAIR COMPETITION
         Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 83 of 155



 1

 2

 3

 4

 5

 6

 7

 8                                   Sample victory screen display in ROS
 9   Additionally, in ROS, the final screen of the game for all players displays the bust of a chicken. The

10   chicken is depicted in the lower-right area of the screen, both for the winner of the game (as depicted

11   above) and for the other players (as depicted below). On information and belief, Defendants’

12   decision to include chicken imagery in the concluding screen display of ROS was made for the sole

13   purpose of evoking the iconic “Winner Winner Chicken Dinner” concluding emblem of

14   BATTLEGROUNDS.

15

16

17

18

19

20

21

22
                      Sample game conclusion screen for player who did not win in ROS
23

24

25

26

27

28
                                          82
            PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                         INFRINGEMENT AND UNFAIR COMPETITION
         Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 84 of 155



 1          80.    Advertising, Marketing and Promotional Materials. On information and belief,

 2   Defendants have advertised, marketed and/or promoted ROS in a manner intended to confuse

 3   consumers into believing that ROS is affiliated with or otherwise related to BATTLEGROUNDS.

 4   These actions are evidenced by the relationship in the Android Google Play Store and Apple App

 5   Store between ROS and BATTLEGROUNDS, the similarities between the appearance and

 6   description of ROS and BATTLEGROUNDS and the use of images unique to BATTLEGROUNDS

 7   on the ROS Facebook page. For example, within the Google Play Store, ROS appears as the third

 8   result when searching for “PUBG Game” and is promoted using vehicles similar to those in

 9   BATTLEGROUNDS.

10

11

12

13

14

15

16

17

18

19

20                          Google Play Store Results for Term “PUBG Game”

21

22

23

24

25

26

27

28
                                         83
           PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                        INFRINGEMENT AND UNFAIR COMPETITION
         Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 85 of 155



 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13                          Use of Jeep in Google Play Store Description of ROS
14   Further, in the Apple App Store ROS appears as the third result when searching for “PUBG” and is
15   promoted using depictions of parachutes, vehicles and supply boxes used in BATTLEGROUNDS.
16

17

18

19

20

21

22

23

24

25

26

27

28
                                         84
           PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                        INFRINGEMENT AND UNFAIR COMPETITION
       Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 86 of 155



 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15
                           Apple App Store Results for Term “PUBG Game”
16

17

18

19

20

21

22

23

24

25
     Use of Parachutes, Supply Box with Red Smoke and Jeep in Apple App Store Description of ROS
26

27

28
                                        85
          PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                       INFRINGEMENT AND UNFAIR COMPETITION
         Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 87 of 155



 1   Defendants have also advertised, marketed and promoted ROS on Facebook using imagery and

 2   expressions reminiscent of those created for BATTLEGROUNDS. For example, the ROS Facebook

 3   page advertises vehicles, supply boxes, locations and weapons unique to BATTLEGROUNDS.

 4   Further, the ROS Facebook page uses imagery and advertisements that evoke the “Winner Winner

 5   Chicken Dinner” messaging used in BATTLEGROUNDS.

 6

 7

 8

 9

10

11

12

13

14

15                            Vehicles and Supply Boxes in ROS Advertising

16

17

18

19

20

21

22

23

24

25

26

27
                                     Frying Pan in ROS Advertising
28
                                         86
           PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                        INFRINGEMENT AND UNFAIR COMPETITION
     Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 88 of 155



 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                     87
       PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                    INFRINGEMENT AND UNFAIR COMPETITION
     Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 89 of 155



 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26
              Evocations of “Winner Winner Chicken Dinner” in ROS Advertising
27

28
                                     88
       PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                    INFRINGEMENT AND UNFAIR COMPETITION
         Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 90 of 155



 1   Defendants have also advertised ROS using vehicles and locations that do not appear in ROS but do

 2   appear in BATTLEGROUNDS (ex. a two-seater buggy, a four-propeller military aircraft, power

 3   plant with a single cooling tower).

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18           Two-Seater Buggy and Power Plant with Single Cooling Tower in ROS Advertising
19

20

21

22

23

24

25

26

27
                                  Two-Seater Buggy in BATTLEGROUNDS
28
                                          89
            PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                         INFRINGEMENT AND UNFAIR COMPETITION
     Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 91 of 155



 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11                    Power Plant with Two Cooling Towers in ROS

12

13

14

15

16

17

18

19

20
                Power Plant with One Cooling Tower in BATTLEGROUNDS
21

22

23

24

25

26

27

28
                                     90
       PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                    INFRINGEMENT AND UNFAIR COMPETITION
         Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 92 of 155



 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20                          Four-Propeller Military Aircraft in ROS Advertising
21                                     Copying in Knives Out Game
22          81.    Knives Out: Knives Out (“KO”) is a video game for mobile devices that was made
23   and released by Defendants. On information and belief, KO was released in the United States on or
24   about November 3, 2017.
25          82.    On information and belief, Defendants created KO by copying BATTLEGROUNDS
26   and with the intention of creating a version of BATTLEGROUNDS for mobile devices.
27          83.    On information and belief, Defendants intended to create consumer confusion as to
28   the source of KO and intended to cause consumers to believe, incorrectly, that KO had been
                                                    91
            PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                             INFRINGEMENT AND UNFAIR COMPETITION
         Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 93 of 155



 1   developed by PUBG. On information and belief, Defendants intended to misappropriate consumer

 2   goodwill toward PUBG in order to market and gain economic benefit from KO.

 3          84.    On information and belief, there has in fact been confusion in the marketplace as to

 4   the source and origin of KO, with consumers believing, incorrectly, that KO was developed by

 5   PUBG. For example, KO has been referred to in the marketplace as “Mobile PUBG” or “PUBG

 6   Mobile”:

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24                           Sampling of player videos available on YouTube.com
                     (https://www.youtube.com/results?search_query=pubg+knives+out)
25

26          85.    On information and belief, commentators in the industry have characterized KO as a

27   copy, or “knockoff” of BATTLEGROUNDS. For example, one commentator called KO “a damn

28   near carbon copy” of BATTLEGROUNDS that “mimic[s]” BATTLEGROUNDS “to an
                                         92
           PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                        INFRINGEMENT AND UNFAIR COMPETITION
         Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 94 of 155



 1   uncomfortable degree.” http://toucharcade.com/2017/11/14/playerunknowns-battlegrounds-mobile-

 2   knockoff-knives-out/. Other commentators have noted that “NetEase’s strategy of quickly launching

 3   multiple PUBG clones appears to be paying off.”

 4   http://www.pocketgamer.biz/asia/news/67212/knives-out-100-million-downloads/; see also

 5   http://www.droidgamers.com/2017/11/24/pubg-knives-netease-android/ (“Just when you thought

 6   you had enough Player Unknown’s Battlegrounds mobile clones by NetEase, you get another.

 7   Knives Out is out now on Google Play, and it looks remarkably similar to last week’s Rules of

 8   Survival.”).

 9          86.     On information and belief, the KO app can be downloaded to a mobile device free of

10   charge, and the KO game can be played free of charge. On information and belief, Defendants have

11   released KO into the marketplace at or below cost for the purpose of gaining market share before

12   PUBG release BATTLEGROUNDS for mobile devices.

13          87.     KO contains many elements that are substantially similar to copyrightable elements of

14   creative audiovisual expression in BATTLEGROUNDS, including at least the following.

15          88.     Total Look and Feel. The overall look, feel, and audiovisual style of KO closely

16   mimic the stylized realism of BATTLEGROUNDS.

17                  Knives Out                                         BATTLEGROUNDS

18

19

20

21

22

23

24

25

26

27

28
                                          93
            PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                         INFRINGEMENT AND UNFAIR COMPETITION
         Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 95 of 155



 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13          89.     Overall Gameplay. The overall look and feel of gameplay in KO very closely
14   matches that of BATTLEGROUNDS. For example, the narrative arc of the game; the audio and
15   visual representations of movement, shooting, and healing; and the battle formats presented (e.g.,
16   player versus everyone and small teams of five players versus everyone, with 100 players per game)
17   all correspond to those of BATTLEGROUNDS.
18          90.     Pre-play Area. As in BATTLEGROUNDS, the KO audiovisual experience begins
19   with a pre-play area where players can meet each other and try out weapons while waiting for
20   enough players to join. While prior games have used pre-play screens and areas, the expressive
21   depiction of a pre-play area in BATTLEGROUNDS, which encourages players to interact with
22   another, use weapons, and explore gameplay mechanics is unique. On information and belief,
23   Defendants copied PUBG’s expressive depictions of the pre-play area where other depictions could
24   have been used for the purpose of evoking the same pre-play experience depicted in
25   BATTLEGROUNDS.
26

27

28
                                          94
            PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                         INFRINGEMENT AND UNFAIR COMPETITION
         Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 96 of 155



 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16
                                              Pre-play area in KO
17
            91.     Play Area Map. Like BATTLEGROUNDS, KO provides a map defining the area of
18
     play, and the KO map is substantially similar to the BATTLEGROUNDS map. The
19
     BATTLEGROUNDS map and KO map each comprises a square-ish mass of land with primary and
20
     secondary islands, a major waterway, and bridges. Both maps feature mountainous topography
21
     which is depicted as if taken using a reconnaissance satellite, yellow gridlines, yellow featured
22
     location indicators and white lettered descriptions of those features areas. Although maps have been
23
     used in prior games, the depiction of the map in KO is strikingly similar to the depiction of the map
24
     in BATTLEGROUNDS. On information and belief, Defendants copied PUBG’s expressive
25
     depiction of the map where another depiction could have been used.
26

27

28
                                          95
            PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                         INFRINGEMENT AND UNFAIR COMPETITION
         Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 97 of 155



 1

 2

 3

 4

 5

 6

 7

 8

 9

10                                   BATTLEGROUNDS Play Area Map
11

12

13

14

15

16

17

18

19

20

21

22                                            KO Play Area Map

23          92.     Scenes and Locations. Many of the locations, structures, landscapes, and other

24   features within the KO play area closely correspond to those within the BATTLEGROUNDS play

25   area. For example, the BATTLEGROUNDS play area and the KO play area each contain at least

26   areas containing ruins, a port with shipping containers, a power plant, a warehouse area, and a

27   wetland area. These areas in KO are strikingly similar to those in BATTLEGROUNDS. On

28   information and belief, Defendants copied PUBG’s expressive depictions of the scenes and locations
                                          96
            PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                         INFRINGEMENT AND UNFAIR COMPETITION
         Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 98 of 155



 1   identified below where other depictions could have been used for the purpose of evoking the same

 2   gameplay experience depicted in BATTLEGROUNDS.

 3                        Knives Out                                  BATTLEGROUNDS

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                         97
           PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                        INFRINGEMENT AND UNFAIR COMPETITION
         Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 99 of 155



 1

 2

 3

 4

 5

 6

 7

 8   The foregoing are selected representative examples and not an exhaustive catalogue of the large

 9   number of similarities.

10          93.     Buildings. The KO play area contains numerous buildings that are substantially

11   similar to buildings in BATTLEGROUNDS. Although buildings have been used in prior games, the

12   facades and layouts of the buildings in KO are strikingly similar to those in BATTLEGROUNDS.

13   On information and belief, Defendants copied PUBG’s expressive depictions of the buildings

14   identified below where other depictions could have been used for the purpose of evoking the same

15   gameplay experience depicted in BATTLEGROUNDS. For example, each game contains a two-

16   story hexagonal tower with stairs, windows, rooflines, and overall structure of the same shapes,

17   proportions, and layouts.

18

19

20

21

22

23

24

25

26                             Two-story hexagonal tower in BATTLEGROUNDS

27

28
                                          98
            PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                         INFRINGEMENT AND UNFAIR COMPETITION
        Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 100 of 155



 1

 2

 3

 4

 5

 6

 7

 8
                                       Two-story hexagonal tower in KO
 9   As another example, each game contains a two-home cluster in which the homes’ masses, windows,
10   doors, rooflines, balconies, patios, and overall structure are the same shapes, proportions, and
11   layouts in both games.
12

13

14

15

16

17

18

19
                                     Pair of homes in BATTLEGROUNDS
20

21

22

23

24

25

26
                                              Pair of homes in KO
27

28   As another example, each game contains a two-story home with a garage, garage roof deck, and
                                          99
            PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                         INFRINGEMENT AND UNFAIR COMPETITION
        Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 101 of 155



 1   masses of the same shapes, proportions, and layouts.
 2

 3

 4

 5

 6

 7

 8                                Two-story home in BATTLEGROUNDS
 9

10

11

12

13

14

15
                                           Two-story home in KO
16

17

18

19

20

21

22

23
                        Garage roof deck on two-story home in BATTLEGROUNDS
24

25

26

27

28
                                          100
            PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                         INFRINGEMENT AND UNFAIR COMPETITION
        Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 102 of 155



 1

 2

 3

 4

 5

 6

 7
                                  Garage roof deck on two-story home in KO
 8

 9   As another example, each game contains a small, freestanding, single-story angular structure with a

10   tiled roof, a single door, and a row of vertically short, horizontally elongated windows that extends

11   around all the walls at approximately eye-level.

12

13

14

15

16

17

18                   Exterior of structure with eye-level windows in BATTLEGROUNDS
19

20

21

22

23

24

25

26

27

28
                                          101
            PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                         INFRINGEMENT AND UNFAIR COMPETITION
        Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 103 of 155



 1

 2

 3

 4

 5

 6

 7

 8
                               Exterior of structures with eye-level windows in KO
 9

10

11

12

13

14

15

16
                     Interior of structure with eye-level windows in BATTLEGROUNDS
17

18

19

20

21

22

23

24

25                             Interior of structure with eye-level windows in KO

26   As another example, each game contains a three-story residential building with masses, rooflines,

27   entrances, windows, and roof decks, of the same shapes, proportions, and layouts, as well as similar

28   façades and staircases.
                                          102
            PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                         INFRINGEMENT AND UNFAIR COMPETITION
     Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 104 of 155



 1

 2

 3

 4

 5

 6

 7

 8                 Three-story residential building in BATTLEGROUNDS

 9

10

11

12

13

14

15                         Three-story residential building in KO
16

17

18

19

20

21

22
              Roof deck on three-story residential building in BATTLEGROUNDS
23

24

25

26

27

28
                                     103
       PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                    INFRINGEMENT AND UNFAIR COMPETITION
         Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 105 of 155



 1

 2

 3

 4

 5

 6

 7

 8                             Roof deck on three-story residential building in KO

 9

10

11

12

13

14

15                    Staircase in three-story residential building in BATTLEGROUNDS
16

17

18

19

20

21

22

23                              Staircase in three-story residential building in KO
24   As another example, each game contains an elongated single-story building with mass, windows,
25   entrances, and steps of similar shapes, proportions, and layouts. Further, both contain a second door
26   on the left side of the building.
27

28
                                          104
            PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                         INFRINGEMENT AND UNFAIR COMPETITION
        Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 106 of 155



 1

 2

 3

 4

 5

 6

 7
                                   Single-story building in BATTLEGROUNDS
 8

 9

10

11

12

13

14

15                                        Single-story building in KO
16   Further, both houses contain vacated and rundown interiors with wooden floors and a bathroom
17   adjacent to the front door.
18

19

20

21

22

23

24
                            Interior of single-story building in BATTLEGROUNDS
25

26

27

28
                                          105
            PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                         INFRINGEMENT AND UNFAIR COMPETITION
        Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 107 of 155



 1

 2

 3

 4

 5

 6

 7
                                   Interior of single-story building in KO
 8

 9   As another example, each game contains a plain rectangular garage with smooth façade where a

10   four-passenger vehicle is respawned.

11

12

13

14

15

16                              Rectangular garage in BATTLEGROUNDS

17

18

19

20

21

22
                                            Rectangular garage in KO
23

24   As another example, each game contains a light brown warehouse with a textured façade, gable roof,

25   and triangular pediment above the entrance.

26

27

28
                                          106
            PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                         INFRINGEMENT AND UNFAIR COMPETITION
        Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 108 of 155



 1

 2

 3

 4

 5

 6

 7                                   Warehouse in BATTLEGROUNDS
 8

 9

10

11

12

13

14

15                                           Warehouse in KO

16   Further, both warehouses contains wooden crates stacked along the walls and in the middle of the

17   room.

18

19

20

21

22

23

24                          Wooden crates in warehouse in BATTLEGROUNDS

25

26

27

28
                                           107
             PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                          INFRINGEMENT AND UNFAIR COMPETITION
        Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 109 of 155



 1

 2

 3

 4

 5

 6

 7
                                       Wooden crates in warehouse in KO
 8

 9   The foregoing are selected representative examples and not an exhaustive catalogue of the large

10   number of similarities.

11          94.     Air Jump. Play begins in KO with a transport aircraft from which players jump,

12   freefall, and parachute into the play area. Similar to BATTLEGROUNDS, the route of the aircraft is

13   shown in a mini-map, and players can choose to jump at any point. Both KO and

14   BATTLEGROUNDS use similar types of vehicles, similar expressions of a satellite-view map

15   depicting yellow gridlines as well as various locations and their names, and similar expressions to

16   indicate the user’s location on the map. On information and belief, Defendants, having recognized

17   the sheer volume of misappropriation in KO, made a minor change and replaced the originally used

18   military-style transport airplane with a military-style transport helicopter. On information and belief,

19   Defendants copied PUBG’s expressive depictions of an Air Jump where other depictions could have

20   been used.

21

22

23

24

25

26

27
                                   Transport Aircraft in BATTLEGROUNDS
28
                                          108
            PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                         INFRINGEMENT AND UNFAIR COMPETITION
     Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 110 of 155



 1

 2

 3

 4

 5

 6

 7

 8                          Original Transport Aircraft in KO

 9

10

11

12

13

14

15

16                         Modified Transport Aircraft in KO

17

18

19

20

21

22

23

24

25

26

27

28
                                     109
       PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                    INFRINGEMENT AND UNFAIR COMPETITION
        Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 111 of 155



 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13
                                         Aircraft Route Map in PUBG
14

15

16

17

18

19

20

21

22

23
      Airplane Route Map in KO, with location of aircraft shown by circular symbol “        ” and direction
24                               of travel shown by arrow symbol “ ”

25          95.     Freefall and Parachuting. As in BATTLEGROUNDS, following the jump from the

26   aircraft, a player can choose to freefall or parachute toward the ground. The depiction of freefall in

27   KO is strikingly similar to the depiction of freefall in BATTLEGROUNDS. Further, KO uses the

28   same depiction of a parachute as used in BATTLEGROUNDS. On information and belief,
                                          110
            PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                         INFRINGEMENT AND UNFAIR COMPETITION
        Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 112 of 155



 1   Defendants copied PUBG’s expressive depictions of freefall and parachuting, where other depictions

 2   could have been used, solely for the purpose of evoking the same introductory experience felt by

 3   players of BATTLEGROUNDS.

 4

 5

 6

 7

 8

 9

10
                                       Freefall in BATTLEGROUNDS
11

12

13

14

15

16

17

18                                         Original Freefall in KO

19

20

21

22

23

24

25
                                           Modified Freefall in KO
26

27

28
                                          111
            PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                         INFRINGEMENT AND UNFAIR COMPETITION
        Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 113 of 155



 1

 2

 3

 4

 5

 6

 7

 8
                                     Parachuting in BATTLEGROUNDS
 9

10

11

12

13

14

15

16
                                              Parachuting in KO
17

18          96.     Weapons. The firearms, melee weapons, and throwable weapons in KO are

19   substantially similar to those in BATTLEGROUNDS. In general, and on information and belief,

20   each weapon in KO corresponds to a weapon in BATTLEGROUNDS that is the same type of

21   weapon, inflicts the same or a similar amount of damage per hit, has a similar appearance, has a

22   similar operation, has similar attachments, and has a similar name. Further, the assortment of

23   weapons and weapon types available in KO are substantially similar to those in

24   BATTLEGROUNDS, as explained in further detail below.

25          97.     Firearms. The firearms in KO are substantially similar to those in

26   BATTLEGROUNDS, having the same or similar type, appearance, and, on information and belief,

27   performance statistics (e.g., load capacity and damage inflicted per discharge). For example, the

28   AKM assault rifle in BATTLEGROUNDS and the AK-47 assault rifle in KO have substantially
                                          112
            PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                         INFRINGEMENT AND UNFAIR COMPETITION
        Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 114 of 155



 1   similar appearances and performance statistics. Although weapons have been used in prior games,

 2   on information and belief, Defendants have copied PUBG’s graphical, statistical and audio

 3   expressions of the weapons identified below where other graphical, statistical and audio expressions

 4   could have been used. For example, note the similarity of the wood grain pattern on the stock, fore

 5   grip and handles of both AK-47s.

 6

 7

 8

 9

10

11                                AKM assault rifle in BATTLEGROUNDS
12

13

14

15

16

17

18

19

20
                                           AK-47 assault rifle in KO
21   As another example, the SCAR-L assault rifle in BATTLEGROUNDS and the S-ACR assault rifle
22   in KO have substantially similar appearances and performance statistics. Note the same color
23   scheme of the two rifles. Both rifles are available in different color schemes, but Defendants chose
24   the color scheme of their S-ACR rifle to closely mimic the appearance of the SCAR-L rifle in
25   BATTLEGROUNDS.
26

27

28
                                          113
            PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                         INFRINGEMENT AND UNFAIR COMPETITION
        Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 115 of 155



 1

 2

 3

 4

 5

 6                              SCAR-L assault rifle in BATTLEGROUNDS
 7

 8

 9

10

11

12

13

14

15

16                                        S-ACR assault rifle in KO
17   As another example, the M16A4 assault rifle in BATTLEGROUNDS and the M4A1 assault rifle in
18
     KO have substantially similar appearances and performance statistics.
19

20

21

22

23

24

25                             “M416” Assault Rifle in BATTLEGROUNDS

26

27

28
                                          114
            PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                         INFRINGEMENT AND UNFAIR COMPETITION
        Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 116 of 155



 1

 2

 3

 4

 5

 6

 7

 8
                                          M4A1 assault rifle in KO
 9

10   As another example, the UMP9 submachine gun in BATTLEGROUNDS and the MP5 submachine

11   gun in KO have substantially similar appearances and performance statistics.
12

13

14

15

16

17
                               UMP9 submachine gun in BATTLEGROUNDS
18

19

20

21

22

23

24

25

26

27                                       MP5 submachine gun in KO
28
                                          115
            PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                         INFRINGEMENT AND UNFAIR COMPETITION
        Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 117 of 155



 1   As another example, the Micro Uzi submachine gun in BATTLEGROUNDS and the Uzi

 2   submachine gun in KO have substantially similar appearances and performance statistics.

 3

 4

 5

 6

 7
                             Micro Uzi submachine gun in BATTLEGROUNDS
 8

 9

10

11

12

13

14

15

16

17

18

19
                                         Uzi submachine gun in KO
20

21   As another example, the Vector submachine gun in BATTLEGROUNDS and the MK5 submachine
22   gun in KO have substantially similar appearances and performance statistics.
23

24

25

26

27
                               Vector submachine gun in BATTLEGROUNDS
28
                                          116
            PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                         INFRINGEMENT AND UNFAIR COMPETITION
        Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 118 of 155



 1

 2

 3

 4

 5

 6

 7

 8
                                          MK5 submachine gun in KO
 9   As another example, the M24 sniper rifle in BATTLEGROUNDS and the M24 sniper rifle in KO
10   have substantially similar appearances and performance statistics. In particular, both depictions of
11   this rifle share the same stock with an extended recoil pad.
12

13

14

15                                 M24 sniper rifle in BATTLEGROUNDS

16

17

18

19

20

21

22

23

24                                           M24 sniper rifle in KO
25   As another example, the AWM sniper rifle in BATTLEGROUNDS and the AWM sniper rifle in KO
26   have substantially similar appearances and performance statistics. Note the use of the same color
27   scheme in the KO version, despite the fact that the AWM rifle is available in different color
28
                                          117
            PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                         INFRINGEMENT AND UNFAIR COMPETITION
        Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 119 of 155



 1   schemes.

 2

 3

 4

 5

 6

 7                         AWM sniper rifle in BATTLEGROUNDS

 8

 9

10

11

12

13

14

15

16                                AWM sniper rifle in KO

17

18

19

20

21

22

23

24

25

26

27

28
                                         118
           PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                        INFRINGEMENT AND UNFAIR COMPETITION
        Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 120 of 155



 1

 2

 3

 4
                                  Mauser sniper rifle in BATTLEGROUNDS
 5

 6

 7

 8

 9

10

11

12

13

14

15
                                           Mauser sniper rifle in KO
16

17   The foregoing are selected representative examples and not an exhaustive catalogue of the large
18   number of similarities.
19          98.     Attachments and Modifications for Firearms. The attachments and modifications
20   for firearms in KO are substantially similar to those in BATTLEGROUNDS, having the same or
21   similar type, appearance, and, on information and belief, performance statistics. For example, both
22   games offer muzzle attachments in the form of silencers/suppressors, compensators, and flash hiders;
23   both games offer vertical and horizontal grip attachments of similar types; both games offer similar
24   assortments of magazines and stocks, such as quick-draw and extended magazines; and both games
25   offer similar assortments of scopes, including a “holographic sight” that is depicted similarly in both
26   games. Selected representative examples are shown below.
27

28
                                          119
            PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                         INFRINGEMENT AND UNFAIR COMPETITION
     Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 121 of 155



 1

 2

 3

 4

 5                       “Red Dot Sight” in BATTLEGROUNDS
 6

 7

 8

 9                          “Holographic Sight” in Knives Out
10

11

12

13                            Stock in BATTLEGROUNDS
14

15

16

17                                 Stock in Knives Out

18

19

20

21

22
               Extended Magazine for Submachine Guns in BATTLEGROUNDS
23

24

25

26
                    Submachine Gun Extended Magazine for Knives Out
27

28
                                     120
       PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                    INFRINGEMENT AND UNFAIR COMPETITION
        Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 122 of 155



 1

 2

 3

 4

 5

 6           Suppressor, Compensator, and Flash Hider for Sniper Rifles in BATTLEGROUNDS

 7

 8

 9
                  Suppressors, Compensator, and Flash Hider for Sniper Rifles in Knives Out
10

11   The foregoing are selected representative examples and not an exhaustive catalogue of the large

12   number of similarities.

13          99.     Melee Weapons. The melee weapons in KO are substantially similar to those in

14   BATTLEGROUNDS. For example, both games offer cookware in the shape of a pan. The use of

15   cookware as a melee weapon is highly uncommon in shooter type games, and Defendants’ use of a

16   pot lid with the same shape and properties as the frying pan introduced in BATTLEGROUNDS was

17   intended to misappropriate Plaintiff PUBG’s unique expression.

18

19

20

21

22

23

24

25

26

27
                                     Frying Pan in BATTLEGROUNDS
28
                                          121
            PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                         INFRINGEMENT AND UNFAIR COMPETITION
        Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 123 of 155



 1

 2

 3

 4

 5

 6

 7

 8

 9

10                                            Pot Cover in KO

11          100.   Throwable Weapons. The throwable weapons in KO also are substantially similar

12   to those in BATTLEGROUNDS. Each game has at least three grenades: a frag grenade, a stun

13   grenade, and a smoke grenade. The grenades in KO are depicted similarly to the frag grenade in

14   BATTLEGROUNDS. The BATTLEGROUNDS frag grenade and the frag grenade used in KO are

15   each depicted as having a removable pin, a lever and a rounded body with two lines of writing. On

16   information and belief, Defendants copied PUBG’s expressive depictions of the grenades identified

17   above where other depictions could have been used.

18

19

20

21

22                                 Frag Grenade in BATTLEGROUNDS

23

24

25

26

27
                                           Frag Grenade an in KO
28
                                         122
           PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                        INFRINGEMENT AND UNFAIR COMPETITION
        Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 124 of 155



 1          101.    Armor. The armor in KO is substantially similar to the armor in

 2   BATTLEGROUNDS. Each game has three levels of helmets and three levels of body armor, and

 3   these items are depicted similarly, operate similarly, and, on information and belief, provide the

 4   same levels of damage reduction.

 5

 6

 7

 8

 9

10

11   BATTLEGROUNDS Helmets providing good damage reduction (Level 1), better damage reduction
                 (Level 2), and best damage reduction (Level 3), respectively
12

13

14

15
       KO Helmets providing good damage reduction (Level 1), better damage reduction (Level 2), and
16                            best damage reduction (Level 3), respectively
17
     The different levels of helmets are expressed similarly across both games. For example, the “Level
18
     1” helmet in both games is a motorcycle or scooter-style helmet which covers the top, back and sides
19
     of the wearer’s head. The “Level 2” helmet in both games is a camouflaged military helmet and
20
     covers the same areas of the wearer’s head as the “Level 1” helmet. Finally, the “Level 3” helmet in
21
     both games resembles a special forces helmet covers all sides of the wearer’s head including the
22
     front and has a shiny black appearance, and both include a visor. On information and belief,
23
     Defendants copied PUBG’s expressive depictions of the helmets identified above where other
24
     depictions could have been used.
25

26

27

28
                                          123
            PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                         INFRINGEMENT AND UNFAIR COMPETITION
        Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 125 of 155



 1

 2

 3

 4

 5

 6

 7

 8
        BATTLEGROUNDS Body Armor providing good damage reduction (Level 1), better damage
 9             reduction (Level 2), and best damage reduction (Level 3), respectively
10

11

12

13   KO Body Armor providing good damage reduction (Level 1), better damage reduction (Level 2), and
                             best damage reduction (Level 3), respectively
14

15   The different levels of armor are expressed similarly across both games. For example, the “Level 1”

16   armor in both games is a snow-camouflaged vest with thin straps across the wearer’s shoulders, back

17   and chest. The “Level 2” armor in both games is a thicker vest, with thicker straps and pouches on

18   the chest and waistline. Finally, the “Level 3” armor in both games has metal clasps on the wearer’s

19   shoulders and contains segmented sections across the chest of the wearer. On information and

20   belief, Defendants copied PUBG’s expressive depictions of the armor identified above where other

21   depictions could have been used. In addition to the armor described above, both games also provide

22   a frying pan-type item for use as armor, as discussed further below.

23          102.    Frying Pan. As explained above in paragraph 99, KO provides a pot lid that can be

24   used both as a melee weapon and as armor, like the frying pan in BATTLEGROUNDS. The pot lid

25   in KO is designed with the same shape and characteristics as the frying pan in BATTLEGROUNDS.

26   As with the BATTLEGROUNDS frying pan, the pot lid provides medium damage output when used

27   as a melee weapon and can deflect shots when in a character’s hand or on a character’s back (butt),

28   analogous to the frying pan in BATTLEGROUNDS. On information and belief, Defendants’
                                               124
           PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                              INFRINGEMENT AND UNFAIR COMPETITION
        Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 126 of 155



 1   decision to include a pot lid as a melee weapon and armor item in KO was made for the sole purpose

 2   of evoking the iconic frying pan emblem of BATTLEGROUNDS.

 3

 4

 5

 6

 7

 8

 9

10                                  Frying pan in BATTLEGROUNDS

11

12

13

14

15

16

17

18

19

20                                            Pot cover in KO
21

22

23

24

25

26

27
                        Frying pan wielded as melee weapon in BATTLEGROUNDS
28
                                         125
           PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                        INFRINGEMENT AND UNFAIR COMPETITION
        Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 127 of 155



 1

 2

 3

 4

 5
                                   Pot cover wielded as melee weapon in KO
 6

 7

 8

 9

10

11

12

13

14                          Frying pan worn as butt armor in BATTLEGROUNDS

15

16

17

18

19

20

21

22
                                      Pot cover worn as butt armor in KO
23

24          103.    Clothing and Other Wearable Equipment. The clothing and other items of

25   wearable equipment in KO are substantially similar to those in BATTLEGROUNDS. Each game

26   has a similar assortment of such items, which are depicted similarly, operate similarly, and, on

27   information and belief, possess the same or similar statistics. For example, KS offers three levels of

28   backpacks with increasing capacity, corresponding to those in BATTLEGROUNDS.
                                                    126
           PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                             INFRINGEMENT AND UNFAIR COMPETITION
        Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 128 of 155



 1

 2

 3

 4

 5

 6

 7

 8       BATTLEGROUNDS Backpacks providing good damage reduction (Level 1), better damage
                reduction (Level 2), and best damage reduction (Level 3), respectively
 9

10

11

12

13    KO Backpacks providing good damage reduction (Level 1), better damage reduction (Level 2), and
                              best damage reduction (Level 3), respectively
14

15   The different levels of backpacks are expressed similarly across both games. For example, the

16   “Level 1” backpacks in both games are tan-colored and pear-shaped. The “Level 2” backpacks are a

17   both green and similarly pear shaped. Finally, the “Level 3” backpacks in both games are much

18   rounder and are camouflaged. On information and belief, Defendants copied PUBG’s expressive

19   depictions of the backpacks identified above where other depictions could have been used.

20   As another example, KO offers a full-body “Ghillie Suit” that camouflages a player like the full-

21   body “Ghillie Suit” in BATTLEGROUNDS.

22

23

24

25

26

27

28                            “Ghillie Suit” in BATTLEGROUNDS
                                                127
            PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                         INFRINGEMENT AND UNFAIR COMPETITION
        Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 129 of 155



 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13
                            Character wearing Ghillie Suit in BATTLEGROUNDS
14

15

16

17

18

19

20

21

22
                                  Character wearing green Ghillie Suit in KO
23
     As another example, KO offers various types of pants, shirts, shoes, jackets, hats, gloves, masks,
24
     glasses, goggles that can be worn by characters, which correspond to similar items in
25

26   BATTLEGROUNDS. This type of clothing allows characters to be depicted in everyday outfits

27   rather than in traditional combat gear. Whereas other video games use only traditional military

28
                                          128
            PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                         INFRINGEMENT AND UNFAIR COMPETITION
        Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 130 of 155



 1   uniforms, the availability of everyday street clothing as well as military gear in both
 2   BATTLEGROUNDS and KO furthers each game’s conceit of different types of people being forced
 3
     to fight one another rather than the traditional video game use of traditional soldiers in a warzone.
 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16
                                       Clothing in BATTLEGROUNDS
17

18

19

20

21

22

23

24

25

26

27

28
                                          129
            PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                         INFRINGEMENT AND UNFAIR COMPETITION
        Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 131 of 155



 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20
                                               Clothing in KO
21
     The foregoing are selected representative examples and not an exhaustive catalogue of the large
22
     number of similarities.
23
            104.    Character Configuration. The configuration of characters in KO is substantially
24
     similar to that of characters in BATTLEGROUNDS. Each game provides two shoulder slots and
25
     two waist slots that may hold items. Additionally, in KO, a frying pan or pot lid may be placed over
26
     a character’s butt by assigning it to a specific slot, just as in BATTLEGROUNDS.
27

28
                                          130
            PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                         INFRINGEMENT AND UNFAIR COMPETITION
        Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 132 of 155



 1

 2

 3

 4

 5

 6

 7

 8

 9

10                             Character Configuration in BATTLEGROUNDS
11

12

13

14

15

16

17

18

19                                      Character Configuration in KO
20          105.    Consumables. The consumable resources in KO are substantially similar to those in
21   BATTLEGROUNDS. Each game has a similar assortment of such items, which are depicted
22   similarly, operate similarly, and, on information and belief, possess the same or similar performance
23   statistics. Every consumable item in KS has a direct counterpart in BATTLEGROUNDS, and
24   BATTLEGROUNDS has only two consumable items (a painkiller depicted as a prescription pill
25   bottle and a syringe) that lack a direct counterpart in KO. For example, each game offers a drink that
26   boosts health and is depicted as an everyday beverage which everyday logic suggests would be
27   unable to heal wounds but is used instead in both games to comically provide a non-traditional
28
                                          131
            PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                         INFRINGEMENT AND UNFAIR COMPETITION
        Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 133 of 155



 1   method of restoring health. The shared use of this non-traditional health boost demonstrates that

 2   Defendants copied PUBG’s expressive depiction a health boost in order to evoke the same feeling

 3   and experience felt by players in BATTLEGROUNDS.

 4

 5

 6

 7

 8

 9

10                                 “Energy Drink” in BATTLEGROUNDS

11

12

13

14

15                                       Health-restoring drink in KO
16   As another example, each game offers a bandage, a first aid kit, and a more fully equipped medical
17
     box kit that may be used to restore health following injury. As shown below, these health restoration
18
     features are each expressed using similar depictions across both games. In both games, the bandage
19
     is expressed using a green sealed pouch with writing on the front. The first aid kit in both games is
20

21   depicted as a re-sealable, camouflaged pouch whereas the med kit in each game is expressed as a

22   flip-top box containing various combat medic tools and supplies:

23

24

25

26

27

28
                                          132
            PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                         INFRINGEMENT AND UNFAIR COMPETITION
        Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 134 of 155



 1

 2

 3

 4

 5

 6
                         Bandage, First Aid Kit, and Med Kit in BATTLEGROUNDS
 7

 8

 9

10

11

12                         Bandage, Medical (First Aid) Kit, and Medical Box in KO

13   The foregoing are selected representative examples and not an exhaustive catalogue of the large

14   number of similarities.

15          106.    Vehicles. The vehicles in KO are substantially similar to those in

16   BATTLEGROUNDS. Each game has a similar assortment of vehicles, which are expressed

17   similarly, operate similarly, and, on information and belief, possess the same or similar performance

18   statistics. For example, each game utilizes at least a buggy, a four door sedan and a motorcycle that

19   share strikingly similar depictions. For example, the buggy in both games shares the same basic

20   structure, including oversized wheels supporting a single seat, open-air roll cage:

21

22

23

24

25

26
                                        Buggy in BATTLEGROUNDS
27

28
                                          133
            PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                         INFRINGEMENT AND UNFAIR COMPETITION
        Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 135 of 155



 1

 2

 3

 4

 5

 6

 7                                              Buggy in KO

 8   As a further example, both games also use generic mid-size 4-door family sedans that are farcically

 9   unequipped for and misplaced in the battlefields depicted in each game.

10

11

12

13

14

15

16                                      Sedan in BATTLEGROUNDS
17

18

19

20

21

22
                                                 Sedan in KO
23

24   Additionally, both games depict dual-sport motorcycles that are expressed using similarly placed

25   rear-view mirrors, wheel covers, seats and exhaust pipes.

26

27

28
                                          134
            PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                         INFRINGEMENT AND UNFAIR COMPETITION
        Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 136 of 155



 1

 2

 3

 4

 5

 6
                                     Motorcycle in BATTLEGROUNDS
 7

 8

 9

10

11

12

13                                            Motorcycle in KO
14   The foregoing are selected representative examples and not an exhaustive catalogue of the large
15   number of similarities.
16          107.    Air-Dropped Supply Boxes. KO features air-dropped supply boxes that are
17   substantially similar to those in BATTLEGROUNDS. As in BATTLEGROUNDS, in KO, the
18   supply boxes are dropped from an aircraft, which can be heard by the players before the supply
19   boxes drop down. The supply boxes in KO are depicted in a different color combination than those
20   in BATTLEGROUNDS, but the KO supply boxes mimic their BATTLEGROUNDS counterparts in
21   all other respects. For example, the supply boxes in both games are covered in tarps and let out
22   visually dramatic plumes of red smoke after landing. On information and belief, Defendants copied
23   PUBG’s expressive depictions of the air drop where other depictions could have been used for the
24   purpose of evoking the same iconic air-drop experience depicted in BATTLEGROUNDS.
25

26

27

28
                                          135
            PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                         INFRINGEMENT AND UNFAIR COMPETITION
     Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 137 of 155



 1

 2

 3

 4

 5

 6

 7

 8                 Aircraft That Drops Supply Boxes in BATTLEGROUNDS
 9

10

11

12

13

14

15

16
                           Aircraft That Drops Supply Boxes in KO
17

18

19

20

21

22

23

24

25         Loading Screen Showing Fixed-Wing Aircraft Dropping Supply Boxes in KO
26

27

28
                                     136
       PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                    INFRINGEMENT AND UNFAIR COMPETITION
        Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 138 of 155



 1

 2

 3

 4

 5

 6

 7

 8   Supply Box With Red Smoke After Landing in a Field of Wheat in BATTLEGROUNDS
 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24                    Supply Box With Red Smoke After Landing in a Field in KO
25

26

27

28
                                         137
           PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                        INFRINGEMENT AND UNFAIR COMPETITION
        Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 139 of 155



 1

 2

 3

 4

 5

 6

 7

 8

 9

10                                  Supply Box in BATTLEGROUNDS

11

12

13

14

15

16

17

18                                           Supply Box in KO
19
            108.   Bombardment Zone. KO includes a bombardment zone feature that is substantially
20
     similar to the bombardment zone feature in BATTLEGROUNDS. As in BATTLEGROUNDS, the
21
     bombardment zone in KO periodically spawns and is expressed as a red-shaded circular area
22
     superimposed on the miniature play area map within the play screen.
23

24

25

26

27

28
                                         138
           PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                        INFRINGEMENT AND UNFAIR COMPETITION
        Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 140 of 155



 1

 2

 3

 4

 5

 6

 7

 8

 9          Bombardment Zone indicated by red circular shading on maps in BATTLEGROUNDS
10

11

12

13

14

15

16

17

18                   Bombardment Zone indicated by red circular shading on maps in KO

19          109.    Shrinking Gameplay Area. KO includes a shrinking gameplay area feature that is

20   substantially similar to the shrinking gameplay area feature in BATTLEGROUNDS. As in

21   BATTLEGROUNDS, the shrinking gameplay area in KO is expressed on the map by a white circle

22   that is centered in a “safe area” to which players are directed. In both games, the circle shrinks in

23   iterations, with each iteration encompassing one-third of the previous area. Both games also display

24   a timer that warns players when the next shrink will occur. Additionally, both games express the

25   boundary of the shrinking gameplay area as a shimmering translucent wall in the gameplay view.

26   On information and belief, the shimmering translucent wall in KO originally was depicted in blue, as

27   in BATTLEGROUNDS, but has been changed to orange.

28
                                          139
            PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                         INFRINGEMENT AND UNFAIR COMPETITION
     Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 141 of 155



 1

 2

 3

 4

 5

 6

 7

 8
              Shrinking circle and timer depicted on map in BATTLEGROUNDS
 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24
                     Shrinking circle and timer depicted on map in KO
25

26

27

28
                                     140
       PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                    INFRINGEMENT AND UNFAIR COMPETITION
        Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 142 of 155



 1

 2

 3

 4

 5

 6

 7

 8
              Boundary depicted as shimmering wall in gameplay view in BATTLEGROUNDS
 9

10

11

12

13

14

15

16

17                     Boundary depicted as shimmering wall in gameplay view in KO

18

19          110.    Advertising, Marketing and Promotional Materials. On information and belief,
20   Defendants have advertised, marketed and/or promoted KO in a manner intended to confuse
21   consumers into believing that KO is affiliated with or otherwise related to BATTLEGROUNDS.
22   These actions are evidenced by the relationship in the Android Google Play Store and Apple App
23   Store between KO and BATTLEGROUNDS, the similarities between the appearance and
24   description of KO and BATTLEGROUNDS and the use of images unique to BATTLEGROUNDS
25   on the KO Facebook page. For example, within the Google Play Store, KO uses a near-identical
26   icon showing a male player in a white shirt, wearing a level 3 helmet with a rifle on his back and is
27   advertised using a jeep and a buggy. In the Apple Play Store, KO is advertised using the iconic
28   player in a white button up shirt and tie, level 3 helmet and rifle.
                                                         141
            PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                              INFRINGEMENT AND UNFAIR COMPETITION
     Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 143 of 155



 1

 2

 3

 4

 5

 6
     Icon for BATTLEGROUNDS from PUBG Website (https://playbattlegrounds.com/main.pu)
 7

 8

 9

10

11

12

13

14

15

16                              KO Icon in Google Play Store
17

18

19

20

21

22

23

24

25

26
                                KO Icon in Apple App Store
27

28
                                     142
       PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                    INFRINGEMENT AND UNFAIR COMPETITION
        Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 144 of 155



 1            111.   Defendants have also advertised, marketed and promoted KO on Facebook using

 2   imagery and expressions reminiscent of those created for BATTLEGROUNDS. For example, the

 3   KO Facebook page expressly advertises and promotes “chicken dinner,” pot lids as weapons and

 4   certain vehicles which, on information and belief, appear in BATTLEGROUNDS but do not appear

 5   in KO.

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                            143
              PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                           INFRINGEMENT AND UNFAIR COMPETITION
     Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 145 of 155



 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                     144
       PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                    INFRINGEMENT AND UNFAIR COMPETITION
     Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 146 of 155



 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12
               Evocations of “Winner Winner Chicken Dinner” in KO Advertising
13

14

15

16

17

18

19

20

21

22

23

24

25

26

27                  Advertising “Pot Lid” as Capable of Deflecting Bullets
28
                                     145
       PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                    INFRINGEMENT AND UNFAIR COMPETITION
     Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 147 of 155



 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                     146
       PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                    INFRINGEMENT AND UNFAIR COMPETITION
     Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 148 of 155



 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26                            “Pot Lid” in KO Advertising

27

28
                                     147
       PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                    INFRINGEMENT AND UNFAIR COMPETITION
        Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 149 of 155



 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13                               Motorcycle with Sidecar in KO Advertising
14

15

16

17

18

19

20

21

22

23
                              Motorcycle with Sidecar in BATTLEGROUNDS
24
                                   PUBG’s Efforts to Enforce Its Rights
25
            112.   PUBG has attempted to address its dispute with Defendants through other channels
26
     besides litigation, but Defendants have refused to acknowledge PUBG’s intellectual property rights.
27
     For example, PUBG has sought removal of Rules of Survival and Knives Out from the Apple App
28
                                          148
            PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                         INFRINGEMENT AND UNFAIR COMPETITION
        Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 150 of 155



 1   Store distribution platforms, putting Defendants on notice of their misappropriation of PUBG’s

 2   copyrights and trade dress.

 3          113.    Apple App Store. On or about January 24, 2018, representatives of Plaintiff PUBG

 4   Corporation submitted a complaint to Apple explaining that the app Rules of Survival and the app

 5   Knives Out, both offered by NetEase Games in the Apple App Store, infringe the copyrights in

 6   PUBG Corporation’s online game PLAYERUNKNOWN’S BATTLEGROUNDS. On or about

 7   January 31, 2018, a representative of Apple provided notice of that complaint to representatives of

 8   NetEase Games.

 9          114.    After receiving notice of PUBG’s copyright infringement allegations, NetEase

10   refused to remove or modify the accused games and knowingly persisted in its infringement. On or

11   about January 31, 2018, a representative of NetEase Games responded to Apple and PUBG

12   Corporation, denying that Rules of Survival and Knives Out infringe PUBG Corporation’s rights.

13   The parties exchanged emails but made no progress toward resolving the dispute.

14          115.    Once it became apparent that NetEase was unwilling to acknowledge PUBG’s

15   intellectual property rights, PUBG determined that legal action would be necessary to enforce its

16   rights. On or about February 14, 2018, a representative of PUBG Corporation emailed NetEase

17   Games and Apple sating, “Since it is very clear that NetEase Games disagrees with PUBG

18   Corporation’s claims, PUBG Corporation has decided to take legal actions against NetEase Games.”

19   On or about February 15, 2018, a representative of NetEase Games responded to PUBG Corporation

20   and Apple, asking Apple “to withdraw this case until any valid judgements are received.” Thus,

21   after receiving repeated notice, NetEase continued to willfully infringe PUBG’s rights.

22                                        CLAIMS FOR RELIEF

23                               FIRST CLAIM FOR RELIEF
                    (COPYRIGHT INFRINGEMENT UNDER 17 U.S.C. § 101 et seq.)
24

25          116.    PUBG repeats and realleges each and every allegation contained in paragraphs 1

26   through 114.

27          117.    The PC game BATTLEGROUNDS is an original work of authorship and constitutes

28   copyrightable subject matter under the copyright laws of the United States. PUBG owns, and at all
                                          149
            PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                         INFRINGEMENT AND UNFAIR COMPETITION
        Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 151 of 155



 1   relevant times has owned, the copyright in BATTLEGROUNDS. The deposit, application, and fee

 2   required for registration of the copyright have been delivered to the Copyright Office in proper form.

 3             118.   Among the exclusive rights granted to PUBG under the Copyright Act are the

 4   exclusive rights to reproduce BATTLEGROUNDS and its copyrightable components, to prepare

 5   derivative works based upon BATTLEGROUNDS and its copyrightable components, and to

 6   publicly display, perform, distribute, and sell BATTLEGROUNDS and its copyrightable

 7   components and such reproductions or derivative works based upon BATTLEGROUNDS or its

 8   copyrightable components.

 9             119.   By developing each version of ROS and KO, Defendants have created or caused to be

10   created reproductions of BATTLEGROUNDS and its copyrightable components and/or derivative

11   works based upon BATTLEGROUNDS or its copyrightable components, all of which are

12   substantially similar in visual appearance and/or audio sound to PUBG’s original work, without

13   authorization from Plaintiff. Such actions infringe PUBG’s exclusive copyrights in

14   BATTLEGROUNDS and its copyrightable components, in violation of 17 U.S.C. §§ 106(1) and

15   106(2).

16             120.   By releasing each version of ROS and KO, Defendants have publicly displayed,

17   performed, distributed, sold, and/or offered to distribute or sell unauthorized reproductions of and/or

18   derivative works based upon BATTLEGROUNDS and/or its copyrightable components without

19   authorization from Plaintiff. Such actions infringe PUBG’s exclusive copyrights in

20   BATTLEGROUNDS and its copyrightable components, in violation of 17 U.S.C. §§ 106(3), 106(4),

21   106(5), and 106(6).

22             121.   On information and belief, Defendants’ acts of infringement have been and continue

23   to be willful, intentional, knowing, and purposeful, in disregard of and indifferent to PUBG’s rights.

24             122.   As a direct and proximate result of Defendants’ infringing conduct, Defendants have

25   derived benefit and have caused PUBG both monetary and non-monetary damage.

26             123.   PUBG is entitled to an injunction restraining Defendants from engaging in any further

27   acts in violation of the United States and California copyright and trade dress laws. PUBG has

28   suffered irreparable harm as a result of Defendants’ infringing activities and will continue to suffer
                                                      150
            PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                              INFRINGEMENT AND UNFAIR COMPETITION
        Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 152 of 155



 1   irreparable harm in the future unless Defendants are enjoined from their infringing conduct.

 2                             SECOND CLAIM FOR RELIEF
                    (TRADE DRESS INFRINGEMENT UNDER 15 U.S.C. § 1125(a))
 3

 4          124.    PUBG repeats and realleges each and every allegation contained in paragraphs 1

 5   through 122.

 6          125.    The total image and overall audiovisual appearance of PUBG’s BATTLEGROUNDS

 7   game has acquired distinctiveness through secondary meaning which identifies its source and which

 8   distinguishes it from the products of others. Consumers widely associate the total image and overall

 9   audiovisual appearance as well as the distinctive elements and combination of elements uniquely

10   with PUBG. To take just a few of the examples identified above, the use of cookware as a weapon

11   or armor in a shooter game, the use of certain vehicles and landscapes and combinations thereof, the

12   use of distinctive supply boxes and the celebratory reference to chicken are elements of ornamental

13   flair that are not functional but have acquired secondary meaning, as shown by their use by players

14   in memes, parodies, skits and other contexts to refer to the BATTLEGROUNDS game and to its

15   developer, i.e., PUBG.

16          126.    Because each version of Defendants’ ROS and KO games mimic the total image and

17   overall audiovisual appearance of PUBG’s BATTLEGROUNDS game as well as distinctive

18   elements and combinations of elements within PUBG’s BATTLEGROUNDS game and because

19   Defendants have specifically advertised and marketed both ROS and KO using these elements and

20   combinations of elements, there is a likelihood of consumer confusion regarding the origin of

21   Defendants’ ROS and KO games, including whether they were developed by PUBG, are associated

22   with PUBG or PUBG’s BATTLEGROUNDS game or were sponsored and/or approved by PUBG.

23   Defendants’ use has and continues to impair the distinctiveness of PUBG’s trade dress. Defendants’

24   distribution of such a confusingly similar game infringes PUBG’s exclusive rights in the trade dress

25   of BATTLEGROUNDS, in violation of 15 U.S.C. § 1125(a)(1)(A).

26          127.    On information and belief, Defendants’ acts of infringement have been and continue

27   to be willful, intentional, knowing, and purposeful, in disregard of and indifferent to PUBG’s rights.

28          128. As a direct and proximate result of Defendants’ infringing conduct, Defendants have
                                                   151
            PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                           INFRINGEMENT AND UNFAIR COMPETITION
        Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 153 of 155



 1   derived benefit and have caused PUBG both monetary and non-monetary damage.

 2          129.    PUBG has suffered irreparable harm as a result of Defendants’ infringing activities

 3   and will continue to suffer irreparable harm in the future unless Defendants are enjoined from their

 4   infringing conduct.

 5                            THIRD CLAIM FOR RELIEF
               (UNFAIR COMPETITION UNDER CAL. BUS. & PROF. CODE § 17200)
 6

 7          130.    PUBG repeats and realleges each and every allegation contained in paragraphs 1

 8   through 128.

 9          131.    Defendants have committed unlawful, unfair, and/or fraudulent business acts by

10   copying PUBG’s BATTLEGROUNDS game in each version of their ROS and KO games and

11   introducing the ROS and KO games to the marketplace at or below cost. This act was intended to

12   injure PUBG and has injured PUBG by unfairly using PUBG’s own development efforts and

13   consumer goodwill to capture mobile gaming market share before PUBG launched its own mobile

14   version of BATTLEGROUNDS, in violation of Cal. Bus. & Prof. Code § 17200.

15          132.    On information and belief, Defendants’ unlawful, unfair, and/or fraudulent business

16   acts have been and continue to be willful, intentional, knowing, and purposeful, in disregard of and

17   indifferent to PUBG’s rights.

18          133.    As a direct and proximate result of Defendants’ unlawful, unfair, and/or fraudulent

19   business conduct, Defendants have derived benefit and have caused PUBG both monetary and non-

20   monetary damage.

21          134.    PUBG has suffered irreparable harm because of Defendants’ unlawful, unfair, and/or

22   fraudulent business conduct and will continue to suffer irreparable harm in the future unless

23   Defendants are enjoined from their unlawful, unfair, and/or fraudulent business conduct.

24                           FOURTH CLAIM FOR RELIEF
            (UNFAIR COMPETITION UNDER THE COMMON LAW OF THE STATE OF
25                                 CALIFORNIA)
26
            135.    PUBG repeats and realleges each and every allegation contained in paragraphs 1
27
     through 133.
28
                                          152
            PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                         INFRINGEMENT AND UNFAIR COMPETITION
        Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 154 of 155



 1          136.    Defendants have committed unlawful, unfair, and/or fraudulent business acts by

 2   copying PUBG’s BATTLEGROUNDS game in each version of their ROS and KO games and

 3   introducing the ROS and KO games to the marketplace at or below cost. This act was intended to

 4   injure PUBG and has injured PUBG by unfairly using PUBG’s own development efforts and

 5   consumer goodwill to capture mobile gaming market share before PUBG launched its own mobile

 6   version of BATTLEGROUNDS, in violation of the common law of the State of California.

 7          137.    On information and belief, Defendants’ unlawful, unfair, and/or fraudulent business

 8   acts have been and continue to be willful, intentional, knowing, and purposeful, in disregard of and

 9   indifferent to PUBG’s rights.

10          138.    As a direct and proximate result of Defendants’ unlawful, unfair, and/or fraudulent

11   business conduct, Defendants have derived benefit and have caused PUBG both monetary and non-

12   monetary damage.

13          139.    PUBG has suffered irreparable harm because of Defendants’ unlawful, unfair, and/or

14   fraudulent business conduct and will continue to suffer irreparable harm in the future unless

15   Defendants are enjoined from their unlawful, unfair, and/or fraudulent business conduct.

16                                         PRAYER FOR RELIEF

17          140.    WHEREFORE, PUBG respectfully requests that the Court:

18          141.    Permanently enjoin Defendants and all other persons or entities who are in active

19   concert or participation with Defendants from continuing to infringe PUBG’s copyrighted work,

20   continuing to infringe PUBG’s trade dress, and continuing to engage in unlawful, unfair, and/or

21   fraudulent business conduct;

22          142.    Order Defendants to remove each and every version of the games Rules of Survival,

23   Knives Out, and similarly infringing games, from distribution and to cease developing and

24   supporting those games;

25          143.    Award PUBG statutory damages for willful copyright infringement in the amount of

26   $150,000.00 per infringed work, pursuant to 17 U.S.C. § 504(c), or, in the alternative, at PUBG’s

27   election pursuant to 17 U.S.C. § 504(b), PUBG’s actual damages and Defendants’ profits from

28   infringement, in amounts to be proven at trial;
                                          153
            PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                         INFRINGEMENT AND UNFAIR COMPETITION
         Case 4:18-cv-02010-JSW Document 1 Filed 04/02/18 Page 155 of 155



 1           144.   Award PUBG statutory damages for unlawful, unfair, and/or fraudulent business

 2   conduct in an amount to be determined by multiplying the number of violations found to be

 3   committed by $2,500.00, pursuant to Cal. Bus. & Prof. Code § 17206;

 4           145.   Award PUBG actual damages in an amount sufficient to at least make PUBG whole

 5   from the effects of Defendants’ unlawful acts;

 6           146.   Award PUBG reasonable attorneys’ fees and costs pursuant to 17 U.S.C. § 505 and

 7   15 U.S.C. § 1117(a); and

 8           147.   Grant PUBG any other and further relief this Court deems just and proper.

 9                                     DEMAND FOR JURY TRIAL

10           148.   PUBG requests a trial by jury on all issues to which PUBG is entitled to a trial by

11   jury.

12
      Date: April 2, 2018                                By: /s/ Steven S. Baik
13
                                                             Steven S. Baik (SBN 184622)
14
                                                             sbaik@sidley.com
15                                                           Ryuk Park (SBN 298744)
                                                             ryuk.park@sidley.com
16                                                           SIDLEY AUSTIN LLP
                                                             1001 Page Mill Road
17                                                           Building 1
                                                             Palo Alto, CA 94304
18
                                                             Telephone: +1 650 565 7074
19                                                           Facsimile: +1 650 565 7100

20                                                           Rollin A. Ransom (SBN 196126)
                                                             rransom@sidley.com
21                                                           SIDLEY AUSTIN LLP
22                                                           555 West Fifth Street
                                                             Los Angeles, CA 90013
23                                                           Telephone: +1 213 896 6047
                                                             Facsimile: +1 213 896 6600
24
                                                             Attorneys for Plaintiffs PUBG Corporation
25                                                           and PUBG Santa Monica, Inc.
26

27

28
                                           154
             PLAINTIFFS’ COMPLAINT FOR COPYRIGHT INFRINGEMENT, TRADE DRESS
                          INFRINGEMENT AND UNFAIR COMPETITION
